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               FIELD COMPLETION REPORT:
           EAST CAMPUS GRAVE RELOCATION
FORT GEORGE G. MEADE, ANNE ARUNDEL COUNTY, MARYLAND




                            Prepared For

                       USACE BALTIMORE




                            Prepared By

                 Environmental Research Group, LLC




                             JULY 2020




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FIELD COMPLETION REPORT:
EAST CAMPUS GRAVE RELOCATION
FORT GEORGE G. MEADE, ANNE ARUNDEL COUNTY, MARYLAND




Prepared For

USACE BALTIMORE



Prepared By

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_____________________
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July 2020
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                                        ABSTRACT


From 1 June through 3 June 2020, Environmental Research Group, LLC (ERG) conducted a grave
relocation project at the Downs Family Cemetery (Downs Cemetery, archaeological site
18AN0973, Maryland Historic Trust) on Fort George G. Meade’s (FGGM) East Campus,
Maryland. More specifically, Downs Cemetery is on the East Campus. The Downs Cemetery dates
to the fourth quarter of the nineteenth century and was the final resting place of William Downs
and Mary A. Downs, the first members of the family to own the land. This project was initiated by
the Baltimore District, U.S. Army Corps of Engineers (USACE) to facilitate the disinterment,
transportation, and reinterment of the remains in the Downs Cemetery to the Bethel Cemetery on
FGGM. The purpose of this project was to ensure all human remains and cultural material were
removed for future land development and to ensure continued access to the graves by descendant
kin. The project area is manicured lawn with the landform sloping down from west to east. Upon
visual inspection in the field, ERG decided to investigate the two known individuals first, followed
by the investigation of the surrounding 1,700 square feet (sq ft) for unmarked burials. The
subsequent excavations identified only the two (2) known burials of Mary A. Downs and William
Downs. The features, artifacts, and human remains were recorded and summarized in this report.
All mortuary related materials and human remains recovered from this project were transported to
Bethel Cemetery on FGGM and reinterred 3 June 2020.




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                                    1.0     INTRODUCTION



From 1 June through 3 June 2020, Environmental Research Group, LLC (ERG) conducted a grave
relocation project at the Downs Family Cemetery (Downs Cemetery) on Fort George G. Meade
(FGGM), Maryland (Figures 1.1 and 1.2). More specifically, Figure 1.3 provides the location of
the Downs Cemetery on the National Security Agency’s (NSA) East Campus at FGGM. This
project was initiated by the Baltimore District, U.S. Army Corps of Engineers (USACE) to
facilitate the disinterment, transportation, and reinterment of the remains within the Downs
Cemetery to the Bethel Cemetery on FGGM. The project area is manicured lawn with the landform
sloping down from west to east. Upon visual inspection in the field, ERG proceeded to investigate
the two known individuals first, followed by the investigation of the surrounding 1,700 square feet
(sq ft) for unmarked burials. Ultimately, the excavations identified only the two (2) known burials
of Mary A. Downs and William Downs.

Historically, the project area was part of the Downs family farmstead, which was assigned
archaeological site 18AN0973 by the Maryland Historic Trust (MHT). The Downs Cemetery dates
to the fourth quarter of the nineteenth century and was the final resting place of William Downs
and Mary A. Downs, the first members of the family to own the land. The Downs Cemetery was
previously evaluated against eligibility criteria A-D and determined not eligible for inclusion in
the National Register of Historic Places (NRHP) (Gray & Pape 2012). From the middle of the
nineteenth century through the formation of Camp Meade (1917), activities on this parcel were
related to the Downs Farmstead. The disinterment of these individuals was necessary for future
land development and to ensure continued access to the graves by descendant kin. The Downs
Cemetery was enclosed within a chain link fence measuring approximately 625 sq ft (Figure 1.4).
There are two known burials (William and Mary A. Downs) within the chain linked fence marked
by a monument and footstones (Figures 1.5 and 1.6). Due to the chain link fence being placed
arbitrarily around the monument, the Area of Interest (AOI) was extended out from each of the
four corner fence posts to encompass an area of approximately 1,700 sq ft in order to ensure the
complete recovery of any unmarked burials.

This investigation resulted in the successful recovery of William and Mary A. Downs. No
unmarked burials were located. Preservation of the burial container, human remains, and any
personal effects was poor. The name plate for Mary A. Downs was well preserved and legible,
therefore her casket was able to be identified. A name plate was recovered in Burial 2, or the burial
of William Downs, but the condition was too poor and fragmented to read. Of note, after support
for identification of burials was made by coffin/funerary artifacts and osteological analysis, it was
determined the original footstones were switched, thus marking the incorrect grave. Ultimately,
all biological material, coffin/funerary material (wood, hardware), and personal items were
collected and placed into a rough box and/or cardboard boxes for reinterment in vaults at Bethel
Cemetery FGGM.

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This project complies with Federal and State regulations regarding the disinterment and
reinterment of Non-Native American human remains. The Principal Investigator for the Downs
Cemetery Relocation Project was Dr. Rosie Tullos, RPA. ERG field crew consisted of Jessi
Spencer, MA (Field Director, bioarchaeologist), and Kaleigh Best, MA (GIS Specialist,
bioarchaeologist). Mechanical excavation services were provided by R&P Backhoe of Baltimore,
Maryland. Funeral Director services were provided by Woody Hilton of the Hilton Funeral Home.

This report is divided into five chapters. Chapter I introduces the project. Chapter II presents the
results of historical research on the cemetery. Chapter III outlines how the investigations were
carried out. Chapter IV describes the results and a discussion of the excavation and reinterment.
Chapter V provides the conclusions. Appendix A includes the curriculum vitae of the ERG
bioarchaeologists, Appendix B includes the Burial Data Forms, and Appendix C includes the
artifact catalog.




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                       Figure 1. 1. Location of Fort George G. Meade, Maryland.




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             Figure 1. 2. Aerial photograph of East Campus Grave Relocation project area.




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          Figure 1. 3. Location of Downs Cemetery on the East Campus Composite Plan Map.




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                     Figure 1. 5. Photograph of monument within Downs Cemetery.




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                     Figure 1. 6. Photograph of footstones within Downs Cemetery.




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          2.0     BACKGROUND AND ARCHIVAL RESEARCH



Environmental and cultural contexts provide a basis for interpreting and evaluating the cultural
resources examined during the present investigations. The environmental context section describes
variables that influenced past human settlement and land use in the project region. This data is
important for understanding what locations were occupied by historic populations in this area and
why they were selected.

2.1     Physiography
What follows is a brief discussion of the physical context of the project area. FGGM is in the
Atlantic Coastal Plain physiographic province. The province is characterized by relatively level
topography that gently slopes east to the Atlantic Ocean. A topographic map of FGGM is presented
in Figure 2.1. The post lies approximately 4 miles (mi.) (6.4 kilometers [km]) east-southeast of
the fall line and is dominated by two ridge systems overlooking the forks of the Patuxent and Little
Patuxent Rivers. The two rivers are the major drainages in the area. Franklin and Midway Branches
are second order streams that drain the uplands. Over the past 300 years the Patuxent River has
experienced extensive siltation due to deforestation associated with agriculture. The first and
second order streams within the post have experienced erosion. A significant portion of the post
has been disturbed by military construction, track vehicle operation, and small arms and artillery
exercise. In particular, the construction, redesign, and removal of the post golf course has greatly
altered the landscape (Joseph 1991).

2.2     Soils
According to the Natural Resources Conservation Service (NRCS) on the Web Soil Survey web
site (NRCS 2020) there is one mapped soil unit within the project area: Evesboro and Galestown
soils, 5 to 10 percent slopes (Figure 2.2). These soils are dominated by well to excessively well
drained sandy loams. The soils are suitable for farming, which was the dominant historic economic
pursuit prior to the formation of FGGM. The soils also are suitable for building. Archaeological
resources can be expected to occur within these soil types.


2.3     Historic Context
To understand the cemetery’s cultural, historical, and archaeological contexts, a background
examination of available records was undertaken and presented in this chapter. Currently, there is
one archaeological report that addresses the history of the Downs Cemetery (Gray & Pape 2012).
This document covers the archival and background research of the existing information available
for archaeological site 18AN0973. The following information was gathered from this resource.




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              Figure 2. 1. Topographic map of East Campus Grave Relocation project area.




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             Figure 2. 2. Soils at East Campus Grave Relocation project area (NRCS 2020).


2.3.1 Anne Arundel County
The year 1649 marked the beginning of settlement in what would soon become Anne Arundel
County. At the behest of Maryland Governor William Stone, a group of about 50 Puritan families
relocated from Virginia to the north side of the Severn River, opposite present-day Annapolis.

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Named Providence, the Puritans’ settlement helped fulfill Governor Stone’s mission to populate
the colony of Maryland. As in Virginia, Maryland colonists invested heavily in tobacco
production. The Maryland General Assembly delineated boundaries for the county in 1650, and
lent it the name Anne Arundel, in honor of Maryland founder, Cecil Calvert’s late wife.

Additional settlers from Virginia followed on the heels of the Puritans, including several Quakers.
These families were supplemented by immigrants from Britain. Settlement patterns reflected the
nature of tobacco culture, with families establishing plantations along navigable waterways,
particularly along the South, West, and Magothy rivers, and Herring Bay. This arrangement
enabled plantation owners to ship heavy hogsheads of tobacco directly from their own private
wharves. As such choice sites became scarce, later settlers patented tracts of land further west. By
1660, colonial famers were working land on the upper reaches of the Patuxent River near present-
day FGGM. The Snowden and Ridgely families were among those who patented several large
tracts in this area during the mid-to-late seventeenth century (R. Christopher Goodwin and
Associates 1994:39).

The colonists’ heavy reliance on tobacco production had a profound impact on regional
development. Indeed, the Chesapeake remained predominantly rural; a vast patchwork of
plantations interspersed with smaller farms. Relying largely on waterways to transport their crops,
road development lagged. Unlike their New England counterparts, planters in the Chesapeake
remained relatively removed from one another, with traditional trade centers markedly absent from
the landscape (Carr, Morgan, and Russo 1988:200–201). A review of Dennis Griffith’s 1795 Map
of Maryland shows few major settlements within the state (Figure 2.3). In Anne Arundel County,
only Annapolis resembled an urban center, with a few lesser settlements comprising the remainder
of the concentrated locations of population in the area. The names of prominent plantation owners
stand in for what might have been the names of rural villages in the northeast part of the country.

Settlement in Anne Arundel County increased steadily through the end of the seventeenth century,
making it the most populated county in the colony. Quakers contributed significantly to the growth,
with a great many families settling near the forks of the Patuxent River in what is now FGGM.
Along with growth and prosperity came a shift of the colony’s center of government. In 1694, the
General Assembly relocated the colony capital from St. Mary’s City to Anne Arundell Towne.
The following year the General Assembly renamed the town Annapolis in honor of Princess Anne.
The capital functioned as the center of economic, social, and political activity for the colony and
Anne Arundel County. Annapolis retains this position to the present day (R. Christopher Goodwin
and Associates 1994:40).

During the early-to-mid eighteenth century, small industries began to contribute to the local
economy. Waterpower supplied by the numerous rivers in Anne Arundel County facilitated the
development of mills. Most significant among the industries that arose at this time was that of iron
ore mining and smelting. Numerous industrialists opened mines and erected smelters during this
period, with the Snowden family playing a significant role in the field. Their Patuxent Iron Works
Company, a furnace and forge on the Patuxent River, was located within the present boundaries
of FGGM. The Snowdens’ iron works opened in 1736, and by 1768, the facility employed 74
workers. Additional iron smelters, owned by the Curtis Creek Mining, Furnace and Manufacturing



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                                                             Approximate Location of Ridgely’s Chance
                      Approximate Location of Project Area




                   Figure 2. 3. 1795 Dennis Griffith Map Showing Approximate Location of Ridgley's Chance (Griffith 1795).




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Company, operated at Glen Burnie and Elkridge Landing (R. Christopher Goodwin and Associates
1994:43–44; Warfield 1905:338–339, 361).

By the late eighteenth century, fluctuations in the tobacco market, as well as the general depletion
of soil nutrients resulting from dependence on a tobacco monoculture, led to a decline in the rural
population of the county. Many farmers moved west to locate new and fertile soil (R. Christopher
Goodwin and Associates 1994:44). Those that stayed diversified their crops.

At this time, grains became an increasingly important component in the local economy, with wheat
comprising a large portion of the new crops. Diversification of crops continued through the first
half of the nineteenth century, with farmers, particularly in the northern part of the county,
increasingly looking to truck crops to compensate for the decline of tobacco. Emancipation of the
state’s remaining slaves in 1864 accelerated this transition, as plantation owners lost their principal
source of labor. In the southern part of the county, corn, wheat, hay, and fruit became the primary
crops, with tobacco playing a minor role in local agriculture. Further north toward Baltimore, the
focus shifted largely to truck farming. Not only did the sandy soil of the area lend itself well to
this type of agriculture, the nearby City of Baltimore offered a ready market for fruits and
vegetables (Martenet 1866).

By the mid-nineteenth century, much of this produce made its way to market by way of the regional
railroad network. Rail service in the Fort Meade area became available as early as 1835, when the
Baltimore & Ohio Railroad completed its Washington Branch. By 1840, the Annapolis & Elkridge
Railroad linked the northern part of the county with the Baltimore & Ohio Railroad at Annapolis
Junction. By the early 1870s, the Baltimore & Potomac Railroad, a Pennsylvania Railroad
subsidiary, offered Anne Arundel County a competing route between Baltimore and Washington,
D.C. These lines facilitated the movement of produce from local farms to markets in Baltimore,
Washington, D.C., and beyond. In addition, station stops and junctions created by the various
crossings of these lines fostered small developments, such as Patuxent Switch, Odenton, and
Annapolis Junction. The rail network radiating from Baltimore and Washington, D.C., would play
a major role in suburban development during the late nineteenth and early twentieth century.

With ready access to commuter lines, Eastern European families living in Baltimore routinely
descended on the farms of northern Anne Arundel County, providing much-needed labor during
harvests. Indeed, berry picking season proved a significant annual event in northern Anne Arundel
County. To accommodate seasonal labor, farmers erected pickers’ shanties on their properties,
wherein workers bunked for the duration of the harvest. The truck farming culture of northern
Anne Arundel County fostered numerous ancillary industries, including canning facilities and
fertilizer plants. Truck farming and processing plants came to distinguish northern Anne Arundel
County by the late nineteenth century; a scene that continued through the 1920s.

During World War I, the United States Army established a training cantonment in northern Anne
Arundel County. Named Camp Meade, the facility required the acquisition of nearly 30 square
miles of land. The camp sprawled across former truck farms; whose owners vacated their
properties in 1917. Although intended as a temporary training facility, Camp Meade became a
permanent installation following the outright acquisition of the leased farms in 1919. During the
interwar years, the facility served as a summer training camp for reserve officers, ROTC cadets,
and the Citizens Military Training Camp. In 1928, the War Department re-designated the camp,
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Fort George G. Meade (FGGM), Maryland. The Army expanded the facility during World War II;
an event that triggered a population boom in the area surrounding the installation. One of the
largest employers in the county, FGGM attracted a great many businesses to the area, which in
turn spurred numerous housing developments (R. Christopher Goodwin and Associates 1994:54).

The postwar years were marked by industrial expansion, particularly in the northern part of the
county. Concurrently, suburban sprawl altered the once rural landscape, as former city residents
relocated to the outskirts of Baltimore and Washington, D.C. New high-speed thoroughfares, such
as the Baltimore-Washington Parkway, enabled workers to commute between the city center and
the suburbs in record time. Adding to the county’s transportation infrastructure, the City of
Baltimore financed construction of Friendship International Airport (Baltimore- Washington
International Airport), which opened in 1950 (R. Christopher Goodwin and Associates 1994:54).
With an abundance of industries and major transportation arteries, the population of Anne Arundel
County more than tripled from 68,375 in 1940 to 206,634 by 1960. Much of this growth occurred
in the northern part of the county near Baltimore. Not surprisingly, the once rural, agricultural
character of the area has largely given way to industrial, commercial, and residential development
(Ware, Luckenback, and Speer 2008).

2.3.2 Tobacco Culture and Agriculture in Anne Arundel County
As elsewhere in the Chesapeake, tobacco remained the primary crop in Anne Arundel County
through the mid-nineteenth century (Martenet 1866). Tobacco was in fact the staple crop of
Virginia and Maryland from the inception of the colonies. Not only did tobacco serve as the
primary source of income for colonists, it also served as a form of legal currency. So prolific was
the crop that production figures for the Chesapeake hovered around 1,500,000 pounds per year at
mid-seventeenth century, and around 20 million pounds by 1700. By the time of the Revolutionary
War, tobacco production had reached to about 80 million pounds per year (Kumpa 1985).

Because land in the colonies was cheap, and the necessary tools were minimal, tobacco farming
required little investment capital. Consequently, during the tobacco boom of the mid-to-late
seventeenth century, many immigrants left England to establish tobacco plantations in Virginia
and Maryland. The resulting massive influx of tobacco soon glutted the market, causing prices to
fluctuate and fall. Over time, only the largest plantations proved profitable (DeFord 1997:H6).

Whether operating a small farm or a large plantation, tobacco farming required considerable labor.
Unlike grain and vegetable crops, tobacco must receive proper care at every stage of its
development. Knowing precisely when to plant seeds, transplant suckers, and harvest the ripe
leaves is more art than a science. Indeed, few growers ever mastered the skill, as the ability to
consistently produce fine tobacco required considerable talent, experience, intuition, and a certain
amount of luck. Due to its demanding and temperamental nature, tobacco required planters to
maintain a vigilant watch over the crop. All the while, field hands kept the tobacco free of weeds,
continually topped plants to prevent them from flowering, and removed destructive pests from
each leaf and stalk by hand. Requiring roughly 15 months to complete a full cycle of growth,
harvesting, curing, and transportation to market, tobacco farming was a perpetual process, offering
few opportunities for rest (Breen 1985:45–50; Kulikoff 1986:45–48).




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Not surprisingly, this labor-intensive process necessitated a ready supply of able-bodied workers.
Although slave labor had been legal in the colony of Maryland since 1664, planters initially relied
largely on white, indentured servants to grow tobacco. Over time, however, indentured servants
became scarce as they earned their freedom and set out to establish their own farms. By the early
1700s, few immigrants arrived in the colonies as indentured servants, leaving tobacco planters to
look elsewhere for labor. Although reluctant at first, they gradually turned to slaves to meet their
needs. Either imported from the West Indies or Africa, slave labor consisted entirely of Negroes
who had originated from the African continent. Unlike their white, indentured predecessors,
African slaves had few opportunities to earn their freedom (Kulikoff 1986:64–67).

To remain in business, tobacco planters became increasingly reliant upon slave labor. During the
early eighteenth century, the number of African American slaves grew steadily, reaching 8,000 in
1719 and 25,000 by 1720. By 1800, the number of African American slaves in Maryland and
Virginia totaled more than 395,000 or about 57 percent of the slave population in the United States.
Without African American slave labor, the tobacco industry of Maryland and Virginia could not
have existed (DeFord 1997:H6).

Much as the plant required a heavy toll in terms manpower, it also demanded a steady supply of
nutrients from the soil. So nutrient-hungry is tobacco that it will transform rich, fertile soil into
barren dirt within three to four years of successive production. Although crop rotation and heavy
doses of fertilizer might keep a plot of land productive, tobacco planters found it cheaper to simply
relocate their operations. Consequently, early tobacco farmers found themselves always on the
lookout for new and fertile soil (Kulikoff 1986:47).

Planters looked for fertile, well-drained soil to grow their tobacco plants. Preparing a new tract of
land for cultivation required considerable labor, as the planter had to first girdle all of the trees
within the anticipated crop site. Upon removal of stumps, workers then tilled the soil to
accommodate seedlings and young plants. As virgin land became scarce, planters found
themselves revisiting previously used farmland. It could take up to 20 years before a former
tobacco field could sustain another series of crops. Plants grown on these sites, however, failed to
flourish as their predecessors had, as the soil never regained its original level of fecundity. As a
result, the quality of tobacco gradually diminished over the years.

Also important when looking for new soil was the availability of transportation. Lacking good
roads, early settlers in the Chesapeake relied heavily upon natural waterways to move goods to
and from market. As one might expect, the earliest settlers located their plantations along navigable
waterways, where they established private wharves for shipping their hogsheads of tobacco to
market. As such choice sites became scarce, aspiring planters located tracts of land farther inland.
Planters then had to roll their hogsheads from the farmstead to the nearest warehouse or shipping
point via unimproved roads.

While tobacco farming dominated Anne Arundel County’s economy for much of its history, truck
farming played an increasingly important role during the nineteenth century. By virtue of its
proximity to Baltimore, northern Anne Arundel County was well situated to serve the markets of
a major city. Farmers in this area grew large quantities of strawberries, peas, cucumbers, tomatoes,
cantaloupes, watermelons, cabbage, and other fruits and vegetables for sale at Baltimore markets

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(Martenet 1866). Agricultural census records for Anne Arundel County show that local farmers
devoted considerable attention to fruits and vegetables, which accounted for a significant portion
of their incomes.

As in many locations throughout the country, agriculture in Anne Arundel County declined during
the Great Depression of the 1930s. Many farmers went out of business, which in turn forced them
to sell their land. Developers acquired vast tracts of farmland at this time, and much of the truck
farming that had come to distinguish northern Anne Arundel County shifted to the Eastern Shore
(The Capital 1999). The decline of agriculture in the county continued through World War II, as
industries vital to the war effort came to occupy former farmland. The trend continued into the
postwar years, with industry replacing agriculture as the most important sector of the local
economy. Concurrently, suburban sprawl, facilitated by automobiles and expressways, came to
occupy former farmland.

2.3.3 Camp Meade/Fort George G. Meade
Established on leased farmland in 1917, Camp Meade served as a training facility for soldiers
bound for Europe. One of 32 cantonments established across the Unites States during World War
I, Camp Meade began as a temporary war measure, intended for decommissioning upon cessation
of the fighting. In 1919, however, the Army purchased the leased farmland (including the Downs
Family Farmstead), effectively forestalling the closure of the camp until a permanent use for the
property presented itself. In 1928, the War Department made the camp an official post. The
following year, they renamed the camp, Fort George G. Meade, Maryland (United States Army
2011).

For the sake of logistics, the Army located Camp Meade between the port of Baltimore and
Washington, D.C. To ensure access to reliable transportation, the Army chose a site on the
Annapolis, Washington & Baltimore Electric Railway, an interurban line that extended from
Annapolis Junction on the Baltimore & Ohio Railroad to Annapolis (United States Army 2011).
One of the larger cantonments established during World War I, Camp Meade reached a peak
capacity of 52,575 soldiers, with more than 100,000 troops moving through the installation by
war’s end. To house and train these soldiers, the Army erected some 1,460 temporary wooden
barracks, commissaries, and other support facilities along either side of a wide parade ground. The
parade ground itself extended from north to south along Rogue Harbor Run (renamed Midway
Branch), a creek that extended through the middle of the former Downs family farm (Figure 2.4).
Construction of the camp began about July 1917, and by mid-September of the same year, troops
began arriving at the cantonment (R. Christopher Goodwin and Associates 1994:53). A camp map
from 1918, and a panorama of the facility from about the same time, shows the extent of
construction at Camp Meade (Figures 2.5 and 2.6).

At war’s end, the War Department attempted to return the leased land to its owners. This plan,
however, caused considerable anxiety among residents. The War Department found that it had
three options about the land. It could continue leasing the land at a cost of $73,000 per year; return
the land to its owners and compensate them for damages; or simply purchase the property outright.
Given the expense of leasing, and the extent of the damage caused by construction of the camp,
the third option proved most practical. In June 1919, the War Department purchased the land that
comprised Camp Meade (R. Christopher Goodwin and Associates 1994:56).

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      Possible Location of John Downs House




             Figure 2. 4. 1918 Photo of Camp Meade Parade Ground, Looking North toward Downs Farmstead (Gray & Pape 2012).




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                  Figure 2. 5. 1918 Maryland Geographic Survey Map Showing Location of Project Area (Gray & Pape 2012).

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                                                  Possible Location of John Downs House



                 Figure 2. 6. 1918 Photo of Camp Meade, Looking South from 79th Division Headquarters (Gray & Pape 2012).




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During the 1920s and 1930s, Camp Meade (renamed FGGM in 1929) served as a training facility
for members of the Officers Reserve Corps, the Reserve Officers’ Training Corps, and the Citizens
Military Training Camp (Figure 2.7). Throughout the 1920s, the Army replaced the dilapidated
wooden buildings built during World War I with tents erected on wooden platforms, built with
materials salvaged from the older buildings. In 1930, the wooden platforms gave way to concrete
tent pads. The remaining World War I era buildings gradually disappeared during the 1930s, with
the last demolished at the outset of World War II (R. Christopher Goodwin and Associates
1994:63).

During World War II, approximately 3,500,000 men and women passed through FGGM. A
wartime peak in March 1945 saw some 70,000 troops occupying FGGM. The facility expanded
considerably during this time. Following the war, the fort returned to peacetime activities.
However, FGGM remained active, especially with the relocation of the Second U.S. Army
Headquarters from Baltimore to FGGM in 1947. This move made FGGM the command center for
Army units throughout a seven-state area. FGGM’s role expanded again in 1966, when the First
U.S. Army relocated from Fort Jay, New York, to FGGM. Army installations within a 15-state
area now received their orders from FGGM (United States Army 2011).

As the Cold War intensified in the late 1940’s, security of the nation’s Capital became a major
concern of Defense Department planners. To protect the Capital, a ring of conventional and
nuclear weapons was established around Washington, D.C. As a part of this defensive perimeter,
the 3rd Armored Cavalry Regiment was organized on Ft. Meade on November 5, 1948. Beginning
in 1957 the first Missile Master System, an electronic network designed to control the use of Nike
antiaircraft batteries, was established on Ft. Meade. These Nike Hercules Missiles were a part of
the 35th Antiaircraft Artillery Brigade which provided as many as sixteen Nike batteries as an
essential line of defense to the Nation’s Capital during the Cold War.

To house the newly assigned troops, construction of the permanent cinder block buildings just
south of the Ft. Meade golf course commenced. From there, heading south down 6th Armored
Cavalry Road, are the barracks erected as part of this effort. Mapes, Dutton, O’Brien and York
roads form the borders of this section of the post. Cavalry units remained until 1974, when the 6th
Armored Cavalry Regiment transferred to Texas. Since then, the area has housed a variety of
units.

Throughout the rest of the 1970's and 1980's, construction engineers and military police were
billeted, trained, and provided power projection capabilities from Ft. Meade. The 16th Military
Police Brigade dates to the Vietnam War when it was constituted on 23 March 1966 as the 16th
Military Police Group and activated on 20 May 1966 at Fort George G. Meade, Maryland.

Shortly thereafter, the brigade deployed to Vietnam to help fight the Vietnam War. The 73rd
Engineer Battalion (Construction), and later re-organized as ‘Combat Heavy’, trained to build
roads and airfields in the Ft. Meade training areas, as a combat multiplier to the United States
Army Forces Command. In the late 70’s and early 80’s the 73rd Engineer Battalion (Combat)
(Heavy) was re-stationed to Camp Drum, in Watertown, New York, paving the way for the 10th
Mountain Division’s arrival.



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   Figure 2. 7. 1925 U.S. Forest Service Map Showing Location of Project Area (Gray & Pape 2012).



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During Operation Desert Shield, 2,700 troops from 42 units deployed from FGGM. Two active
units from FGGM, including the 85th Medical Battalion and the 519th Military Police Battalion,
shipped to Saudi Arabia during the conflict. In addition, the facility processed National Reserve
and National Guard units from several states. FGGM remains an integral component to the United
States Army, supporting facilities for the Defense Information School, the United States Army
Field Band, the United States Cyber Command, the National Security Agency, and the Defense
Courier Service (United States Army 2011).

2.3.4 The Ridgely Family Ownership: 1694-1832
The project area was located near the geographic center of a 305+-ac. (123-ha) tract patented by
William Ridgely in 1694. Originally known as “Ridgely’s Chance,” the plantation produced
tobacco, grains, and a variety of truck crops that were sold at markets in Baltimore. William
Ridgely and his brother Henry immigrated to the Province of Maryland from Devon, England in
1672. Although Henry rose to considerable prominence in the provincial military and government,
William appears to have led a relatively quiet life as a tobacco farmer (Anonymous 1994:1; Nelker
N.D.).

William Ridgely’s land acquisitions were consistent with tobacco farming practices of the late
seventeenth and early eighteenth century, wherein farmers required vast tracts of land to sustain
healthy crops. An exceptionally nutrient-hungry plant, tobacco quickly leaches the soil of its life-
sustaining properties. At best, a farmer might expect to get three years of use out of a field. Rather
than replenish the soil with heavy expenditures in manure, tobacco farmers found it more cost
effective to acquire new land, allowing depleted fields to lay fallow for upwards of 20 years. Such
farming practices required extensive reserves of fertile soil (Kulikoff 1986:47).

Not surprisingly, William Ridgely owned more than one tract of land in Anne Arundel County.
His first land acquisition occurred in 1690, when he purchased a 200-ac. section of James Finley’s
“Abbington.” Located at the head of the South River, Ridgely’s Abbington served as his
homestead (Figure 2.3). Two years later, Ridgely surveyed a 40-ac. tract of land on the north side
of the South River. Patented as “Ridgely’s Beginning,” this tract constituted Ridgely’s first survey.
Later, in 1694, Ridgely surveyed a 305-ac. tract along Rogue Harbor Run in present-day Fourth
District, Anne Arundel County. He named this patent, “Ridgely’s Chance” (Anne Arundel County
1694: Patent Record C 3, 411-12; Warfield 1905:81–83). It is not known if William Ridgely
farmed Ridgely’s Chance or if he reserved the tract for future use.

When William Ridgley’s son, William Ridgely II (1678–1719) married in 1702, William Ridgely
deeded him Abbington, the family’s principal farmstead. At the time of William Ridgely’s death
in 1716, the remainder of his estate went to his son, who survived his father by only three years.
The former holdings of William Ridgely, including Ridgely’s Chance, then went to William
Ridgely II’s son, William Ridgely III (1703–1777) (Warfield 1905:81–83). Ridgely’s Chance
appears to have first been occupied during the early-to-mid eighteenth century by William Ridgely
III, grandson of William Ridgely. Precisely where William III located his residence remains
uncertain, but it quite likely occupied the same site used by the Downs family during the mid-to-
late nineteenth and early twentieth century.



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Abbington appears to have remained the family farmstead and residence of William I and William
II, but at some point, William Ridgely III established a residence at Ridgely’s Chance. William
Ridgely III’s will, written March 10, 1768, states:

        I Give and Bequeath unto my Beloved Sons John Ridgely, Henry Ridgely and Greenbury
        Ridgely and their Heirs forever, the following Tracts of Land. One Tract of Land called
        and known by the name of Ridgely's Chance whereon I now do dwell Containing three
        hundred and five Acres of Land more or less, Also a Tract of Land called and known by
        the Name of Spanish Oak Grove, Containing fifty Acres of Land more or less, Also a Tract
        of Land Called and known by the name of Good Luck containing fifty Acres of Land more
        or less Also Another Tract of Land Containing One hundred and fifty acres of Land more
        or less being part of a Tract of Land Called and known by the name of Piney Grove All
        Lying and being in Ann Arundel County to be Equally Divided amongst them But if Either
        of my above named Sons should die without Lawful Issue of his body begotten then the
        part or parts of Land to whom it did belong to be the Right, Estate, and Lawful Inheritance
        of the Surviving Brother or Brothers and their Heirs for Ever (Ridgely 1768: Liber TG
        No.1, Folio 6-8) (sic).

All told, William Ridgely III owned four discontiguous tracts totaling at least 555 ac. Precisely
how he managed these properties remains unknown, but a likely scenario might include a
combination of tenant farming, fallow land in rotation, and farming for personal consumption and
sale. Slaves, of which William Ridgely III owned five, would have supplemented or even replaced
labor provided by the Ridgely family (Ridgely 1768: Liber TG No.1, Folio 6–8). Upon his death
ca. 1777, Ridgely’s Chance, among other landed properties, went to his sons John, Henry, and
Greenbury.

As his will attests, William Ridgely III occupied Ridgely’s Chance as of 1768. How long he
occupied tract remains unknown. Also unknown are the identities of those who occupied Ridgely’s
Chance immediately following his death. Presumably, William’s wife Mary Orrick Ridgely
remained at Ridgely’s Chance following the death of her husband, but this is an assumption. Mary
died in 1786 and by March 1791, the Ridgely brothers began dividing the landed estate of their
late father. John and Greenbury Ridgely transferred a portion of Ridgely’s Chance to their brother
Nicholas (Anne Arundel County 1791: AH 6 Folio 43 Book 1). Brothers Henry, Nicholas, and
Greenbury are known to have resided in locations other than Ridgely’s Chance, but it is unclear
precisely where John lived. The 1795, Dennis Griffith map of Maryland shows a Ridgely living
on the east side of the Patuxent River roughly 4 mi. southwest of Ridgely’s Chance (Figure
2.3). This same map shows the name “Howard” near the location of Ridgely’s Chance. Whether
Howard was associated with Ridgely’s Chance or simply occupied the property adjacent to
Ridgely’s Chance is not known. The name Howard does not appear in available records pertaining
to Ridgely’s Chance. Quite possibly, Ridgely’s Chance was left in the care of tenant farmers during
the late eighteenth and early nineteenth century.

During the early nineteenth century, portions of Ridgely’s Chance changed hands several times.
In 1811, John Ridgely deeded 261.25 ac. of Ridgley’s Chance to his son William. An additional
transfer of a portion of Ridgely’s Chance occurred in 1814, when Archibald Mason acquired 200
ac. of the tract from John Brewer, a court-appointed trustee for John Ridgely’s estate (Genealogy

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2009). How this transaction related to the transfer from John to his son William remains uncertain,
but it appears to have been part of a legal maneuver designed to settle debts incurred by John. It
remains unknown whether John Ridgely ever resided on Ridgely’s Chance. If he did, his tenure
on the property could not have extended beyond his death ca. 1818. Moreover, there is no way to
tell if his son, William, or Archibald Mason ever resided on the property.

Whether Mason retained his 200-ac. share of Ridgely’s Chance or sold it back to one of the
Ridgelys is also unclear. At the time of Nicholas Ridgely’s death in 1830 (Baltimore American
1830), Nicholas owned at least 122 ac. of Ridgely’s Chance. Nicholas willed the 122-ac. portion
of Ridgely’s Chance to his daughter, Ann Wellmore. By 1832, Nicholas’s daughter Ann had
passed away, leaving the 122-ac. portion to Ann Orndorff, daughter of Ann Wellmore and
granddaughter of Nicholas Ridgely. Ann and her husband John immediately sold the property to
German immigrant Godfrey Friedhofer (Anne Arundel County 1842: WSG 26/110). The sale to
Friedhofer likely severed the final link between the Ridgely family and Ridgely’s Chance; a chain
of ownership that spanned approximately 138 years.

2.3.5 The Downs Family Ownership: 1842-1919
On January 17, 1842, Godfrey Friedhofer sold his 122-ac. portion of Ridgely’s Chance to William
Downs (Anne Arundel County 1842: WSG 26/110) (Table 2.1). The grantee/grantor indexes show
no other transactions for William Downs prior to 1873, when William transferred 322 ac. to his
son, John Gere Downs. However, given that he owned at least 320 ac. by 1850 (as shown in the
Agricultural Census [Agricultural Census 1850b]), he must have acquired a minimum of 200 ac.
either prior to the transaction with Friedhofer or sometime soon thereafter. Perhaps William
acquired the 200-ac. portion of Ridgely’s Chance prior to 1842. Regardless, William owned the
entirety of the 305-ac. Ridgely’s Chance patent by 1850, plus an additional 17 ac., which brought
the total to about 322 ac.

Exactly when William Downs first arrived in Anne Arundel County remains unknown. Available
documents reveal that he was the son of Maryland natives, Zachariah (1748–1831) and Elizabeth
Ann Mason Downs (1750–1820). William was born in Montgomery County, Maryland, on
November 25, 1790 (Motsinger 1966:280). William’s parents resided in Montgomery County for
the remainder of their lives. Presumably, William would have remained with his parents through
childhood and, perhaps, early adulthood. The 1810 census is not readily available, but the 1820
census record for Montgomery County shows that William was no longer living in his parents’
home (United States [US] Federal Census 1820). The earliest available record for William consists
of a marriage record, indicating that he married Mary Ann Carrick in Prince George’s County,
Maryland, on June 2, 1827. Census records show that by 1840, he was living in Anne Arundel
County in the vicinity of the Disney family, who occupied farms very near Ridgely’s Chance (US
Federal Census 1840). Just two years later, he signed a deed for at least 122 ac. of Ridgely’s
Chance. In 1850, he is listed in the census as a resident of Anne Arundel County, along with his
wife Mary Ann and eight children: William H. (1828–1911); Benjamin C. (b.1830); Catherine
(b.1832); James T. (1834–1920); Dorcus A. (b.1836); John Gere (1838– 1903); Sarah E. (b.1843);
and Arial B. (1845–1911) (US Federal Census 1850a). The 1860 Martenet map shows William
Downs’s name near the center of Ridgely’s Chance (Figure 2.8).




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Agricultural census records for 1850 and 1860 indicate that William owned about 320 ac.
Approximately 200 of these acres were improved, while 120 were unimproved. In 1850, the cash
value of his farm totaled about $1,000. He owned five horses, five milk cows, two oxen, eight

                              Table 2. 1. Chain of Title for Ridgely’s Chance.
          Grantor                     Grantee                       Date                Deed Book
                           Ridgely, William I                1694            Patent Record C3, pp.411-12
         Province of
           Maryland
                           Ridgely, William II (heir)        12/13/1716      Liber WT, No. 1, Folio 99
     Ridgely, William I
          (deceased)

    Ridgely, William II
                             Ridgely, William III (heir)         8/29/1719           Liber 2, Folio 502
       (deceased)

                              Ridgely, John, Henry,
    Ridgely, William III                                        10/15/1777          Liber TG 1, Folio 6-8
                              and Greenbury (heirs)
  Ridgely, John, Henry,
                                 Ridgely, Nicholas               3/14/1791         AH 6 folio 43 Book 1
     and Greenbury
     Ridgely, Nicholas        Orndorff, John H. and
                                                                 6/01/1832              WSG 17/415
        (deceased)                     Ann
  Orndorff, John H. and
                                Friedhofer, Godfrey              6/01/1832              WSG 17/415
           Ann
     Friedhofer, Godfrey          Downs, William                 1/17/1842              WSG 26/110

      Downs, William              Downs, John G.                 5/17/1873              WSG 26/111

      Downs, John G.
                                 Downs, William T.              11/27/1907              See Plat Map
    (deceased) heirs of
                             Disney, Summerfield and
      Downs, John G.
                             wife Mary Estelle Downs             12/3/1908              WSG 26/112
    (deceased) heirs of
                                      Disney
    Downs, William T.         United States of America           6/17/1919            GW 63 Folio 381



cattle, 12 sheep, and 10 swine for a total livestock value of about $200. He harvested 45 bushels
of wheat, 30 bushels of rye, 350 bushels of Indian corn, and 4,000 pounds of tobacco. While the
farm produced lesser quantities of grain than neighboring farms, Downs produced an above-
average yield of tobacco. He also produced $300 worth of fruit from his orchard and $800 worth
of marketable produce. These figures were about average for the area. Figures for 1860 were like
those of 1850, but the Downs farm was by then worth $2,500. Again, the Downs farm produced
about 4,000 pounds of tobacco. Because the 1870 agricultural census provides district- wide totals
only, Downs farm production figures for 1870 are not known. By this date, William had retired,
and his youngest son John Gere Downs continued the Downs farm operation. Like most farmers
in northern Anne Arundel County, John likely focused on truck farming for sale to Baltimore
markets (US Federal Census 1850b; US Federal Census 1860a).


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The 1850 slave schedule for District 4 shows that William Downs owned seven slaves, including
a 51-year old male, a 45-year old female, and what possibly constituted their family of five
children, ages 3, 6, 10, 14, and 16 (US Federal Census 1850c). In 1860, he owned nine slaves,
including five males ages 2, 14, 36, 38, and 40, and four females ages 6, 10, 30, and 37 (US Federal
Census 1860b). Census records for 1870 and 1880 show that a considerable number of African
American and mixed-race residents of Anne Arundel County used the surname Downs (US Federal
Census 1870; US Federal Census 1880). Some of these individuals may have been former slaves
or descendants of slaves belonging to William Downs, while others may have come from
plantations belonging to other branches of the Downs family. William’s father Zachariah, for
example, owned several slaves (US Federal Census 1790 and 1820). Census records show that
William’s brothers, Benjamin, and Richard M. Downs also owned slaves.

By 1870, William had retired. He still was living with his wife Mary Ann in District 4, Anne
Arundel County (US Federal Census 1870). The couple was living next door to or at least very
near their youngest son John Gere Downs and his wife, Mary Alverda. A plat map for the Downs
estate shows that on April 30, 1873, William Downs transferred his land to his son John. This
transaction does not appear in the grantee/grantor indexes for Anne Arundel County, but the 1878
Hopkins map clearly shows John as owner of the property (Figure 2.9). The plat map shows that
the 1873 property transfer included a 200-ac. tract and a 122-ac. tract located on either side of
Rogue Harbor Run. The plat map also includes the name Ridgley’s Chance, shown just above the
ninth leg of the Ridgely’s Chance boundary survey. Table 2.2 provides the Family Tree of William
T. Downs.



                              Table 2. 2. William T. Downs Family Tree.
    First Generation          Second Generation           Third Generation     Fourth Generation
     William Downs             William H. Downs          Maranda P. Downs          Earl L. Downs
       (1791–1883)                (1828–1911)                  (1834–?)               (1896–?)
  Mary Ann Carrick Downs      Benjamin C. Downs          Benjamin F. Downs       Wilmer K. Downs
        (1803–1775)                 (1830–?)                   (1865–?)               (1899–?)
                               Catherine Downs            Azarih A. Downs        Beulah E. Downs
                                    (1832–?)                   (1868–?)               (1903–?)
                               James T. Downs            William T. Downs        William C. Downs
                                  (1834–1920)                 (1869–?)                (1905–?)
                               Dorcus A. Downs             Ellen C. Downs         Arthur T. Downs
                                    (1836–?)                   (1871–?)               (1907–?)
                               John Gere Downs           Richard D. Downs        Richard E. Downs
                                  (1838–1903)                  (1873–?)               (1909–?)
                                Sarah E. Downs            Robert S. Downs         Lillius E. Downs
                                    (1843–?)                   (1876–?)               (1910–?)
                                 Arial B. Downs           William T. Downs
                                  (1845–1911)                  (1869–?)
                                James T. Downs            Amanda V. Downs
                                   (1834-1920)                  (1875-?
                                Louisa E. Downs
                                   (1835-1898)



On December 21, 1875, Mary Ann Downs died. The family buried her on the Downs property.
The 1880 population census shows William as a widower, still living with his son John and his

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wife Mary Alverda (US Federal Census 1880). William Downs survived his wife Mary Ann by
about eight years, dying on September 30, 1883. The family buried him next to Mary Ann in what
became known as Downs Cemetery.

After acquiring the farm from his father in 1873, John kept the 322-ac. Downs farm intact until
1884, when he sold 2 ac. to Stephen Hebron. John sold an additional 8.75 ac. to Hebron in 1896.
The 1870 population census shows that Stephen Hebron was African American and a laborer (US
Federal Census 1870). In 1900, Hebron was listed as a farmer (US Federal Census 1900). Hebron’s
house appears on the 1904, Baist’s Map of the Vicinity of Washington, D.C. (Figure 2.10). By
1904, the house appears to have belonged to Stephen’s son, Frank Hebron. The Hebron house and
property were located toward the southwest corner of the Downs estate.

John and Mary remained on the Downs estate through 1900. The population census for that year
shows the couple living with their daughters Susie and Edna. Sarah A. Disney, sister of John
Downs, also was living in the house. John and Mary’s oldest daughter, Mary Estelle, was living
with her husband, Summerfield C. Disney, on a farm somewhere in District Four (U.S. Federal
Census 1900). John died in 1903, leaving his wife Mary to handle the estate (Arps 1983:43). Deed
records show that, in November 1907, the heirs of John Downs transferred 117.9 ac. of the 312-
ac. Downs estate to William T. Downs, son of James T. Downs and nephew of John. In 1908,
Mary transferred the remaining 192.1 ac. of John’s estate to son-in-law Summerfield C. Disney.
Following the sale of her late husband’s farm, Mary moved to Baltimore with daughters Susan and
Edna (US Federal Census 1910: Baltimore County, MD). Mary survived her husband John by 13
years, dying on February 2, 1916.

The Disneys and William T. Downs sold their parcels to the United States Army in 1919. However,
it appears that they retained a 0.5-ac. parcel that contains Downs Cemetery, as well as an access
road leading to it. The access road is no longer extant. The cemetery, which contains the remains
of William Downs and his wife Mary Ann, remains intact. It was unknown whether Downs
Cemetery contained additional, unmarked graves. The current investigation validated only Mary
A. Downs and William Downs were in the Downs Cemetery.

2.3.6 Downs Cemetery
The Downs Cemetery occupies a 0.5-ac. parcel located just east of FGGM’s East Campus Building
1 (ECB 1). The cemetery was in a cleared lawn area just west of the former William T. Downs/Post
Sergeant Major’s House. A low chain link fence borders the cemetery, which contains two marked
graves, that of William Downs (November 25, 1790 to September 30, 1883) and his wife Mary
Ann Downs (July 27, 1803 to December 21, 1875). William and Mary were grandparents of
William T. Downs, original occupant of the Post Sergeant Major’s house. The current investigation
validated only Mary A. Downs and William Downs were in the Downs Cemetery.

The Downs Cemetery marks the approximate location of the former Downs family farmstead. The
United States Army leased the Downs farm in June 1917. Two years later the Army purchased the
property. A 1919 plat map of the property shows that the Downs family retained legal access to
the cemetery (Figure 2.11).




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                               Figure 2. 8. 1860 Martenet Map showing location of project area (Martenet 1866).




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                                Figure 2. 9. 1878 Hopkins Map showing location of project area (Hopkins 1878).




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                                   Figure 2. 10. 1904 Baist Map showing location of project area (Baist 1904).




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                    Figure 2. 11. 1919 Plat Map showing boundaries of Downs Estate/Ridgley's Chance (Gray & Pape 2012).


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Again, William T. Downs acquired the property through inheritance. The familial relationship
between the house and cemetery, however, was rather short lived. The current investigation
concluded that Mary A. and William Downs were the sole occupants of the Downs Cemetery and
were clearly associated with the Downs Farmstead. However, the house was built ca. 1907 and
presumably occupied by members of the Downs family only until 1917 when the property was
vacated for the formation of Camp Meade.

Based on historic maps and photos, it appears that during World War I, the 79th Division
headquarters occupied the area around the cemetery. Photos from ca. 1918 show several temporary
wooden buildings and a tall watchtower in the immediate vicinity of the cemetery (Figures 2.4
and 2.12). This temporary construction left the cemetery in place. The Army removed the
temporary buildings and structures during the 1920s and 1930s, leaving only the former house of
William T. Downs and the cemetery itself. The William T. Downs house remained in use as the
Post Sergeant Major’s residence. During the 1950s, the Army built a golf course in this area, and
in the early 1990s, the Army demolished the former house of William T. Downs.

The cemetery was maintained and bounded by a chain-linked fence measuring approximately 20
by 22 feet. However, the land allotted for the cemetery was much greater, covering 0.5 acres
according to the 1919 deed transferring ownership to the Army. The heirs of the John G. Downs
family retained ownership of the graveyard but it was unclear how many individuals were buried
at the site.




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                        Figure 2. 12. 1918 Photograph of Camp Meade, 79th Division Headquarters (Gray & Pape 2012).




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        3.0     RESEARCH DESIGN AND PROJECT METHODS



This section discusses the specific methods used by ERG to excavate the marked burials within
the Downs Cemetery as well as to explore and investigate potential unmarked burials within the
project area. The Downs Cemetery investigation was limited to an approximately 25-foot-by-25-
foot fenced in area, which expanded to a 1,700 sq ft total area of investigation east of ECB 1. The
current investigation included the two graves in the fenced area which have permanent surface
markers (Mary A. Downs and William Downs), followed by the 1,700 sq ft project area for any
unmarked burials.

Prior to the start of fieldwork, USACE Baltimore secured permission to disinter two (2) marked
graves and any additional possible graves to be discovered in a 1,700-square-foot section of the
Downs Cemetery. This project area had not been previously archaeologically investigated and was
not subjected to geophysical techniques such as LiDAR, GPR, or gradiometry. ERG personnel
mapped all cultural features and landmarks using a total station (SOKKIA SET530R). The
standing grave marker was shot in with at least two points on its long axis. The surveyors bracketed
the spatial location of each grave shaft with four points once the burial container was identified.
ERG also shot in the survey boundary, perimeter fence, and other archaeological features and
significant landscape features (Figure 3.1) as well as burial features and recovered artifacts
(Figure 3.2).

ERG employed a backhoe with a 3-feet-wide bucket to remove the topsoil and overburden so the
soil stains of the grave shafts became visible. Due to the sandy matrix, identification of a grave
shaft was unable to be determined and the machinery was used to remove overburden until a burial
container was identified. The heavy machinery was also used to complete additional tasks such as
the installation of silt fencing as per MDE requirements, removal of the 25-foot-by-25-foot chain-
link fence and two (2) hardwood tree stumps within the project area.

The topsoil of the survey area was stripped, and suitable soil was stockpiled separately from other
excavated material to be readily used for the finished grading. All other excavated material was
cleared of unsuitable material such as vegetation, debris, sod, mulch, and rubbish and placed in a
stockpile area to be used as backfill.

The overburden was removed in several inch-lift increments until ERG bioarchaeologists
determined the presence of a burial. At that point, the grave shafts were hand excavated with
shovels and trowels as to not damage any human remains or cultural material. All excavated soil
associated within a grave shaft and not associated with the overburden was screened through a 6.4-
millimeter (0.25-inch) mesh to recover any skeletal material and other material cultural associated
with the burial. Oversight of the screened material was conducted by ERGs bioarchaeologists to
collect any human remains not observed during excavations. Excavated soil was sifted into a
backfill pile for subsequent reuse when backfilling and compacting. A polyethylene tarp was

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utilized to cover the active excavation area (burial) when the backhoe was required to extend
workspace.

ERG bioarchaeologists carefully excavated within the confines of the grave shaft or pit until
reaching the bottom or sterile soil. All known or suspected grave plots were pin flagged at the
approximated head and foot to account for all potential locations and to facilitate targeted
excavations. All pin flags were labeled with a plot number with permanent marker. Plot numbers
were identified within the total station based off a known datum. A Total Station Log was also
maintained for each point recorded.

All the human remains or last remains, including clothing materials, identification markers,
caskets, coffins, or other container, and coffin hardware was removed from each grave, placed in
the properly sized rough box or appropriate cardboard box, sealed with cover and identification
plate attached, and transported and reinterred in the new grave at the reinterment site. Grave
contents were exposed, photographed by the Government photographer, and documented on ERGs
Burial Data Forms (Appendix B). The Funeral Director from Hilton Funeral Home visually
inspected each finished grave to confirm it had been fully excavated. The rough boxes were then
placed in a Hilton Funeral Home transport van and parked at a secure storage facility. The remains
were transported in a closed conveyance to the Bethel Cemetery on FGGM and reinterred in
accordance with routine burial practices and receiving cemetery standards.

Every plot was measured and cataloged using the Burial Data Forms (Appendix B). Pertinent
information about each burial was recorded, including any surface representations such as
depressions or formal markers; relevant grave pit characteristics such as shape and maximum
dimensions; coffin specifics such as presence, shape, and maximum dimensions; and an infield
determination of skeletal condition as well as biological profile as permissible, and associated
artifacts.

Skeletal preservation was recorded for each skeleton while still in situ. ERG’s bioarchaeologists
conducted a basic field inventory for all historic objects recovered from the excavation. Artifacts
were identified by material type, function, and presumed date range using sources such as
Davidson (1999, 2004), Pye (2010, 2011), and Sprague (2002). Specific attention was paid to
collecting information that establishes chronological placement and cultural practices to the best
extent possible. Artifacts were photographed by the Government photographer as an aggregate
collection in the field by plot number.

In addition to the removal of all human remains, ERG also removed all gravestones, markers,
burial containers, and monuments from the Downs Cemetery. Headstones and footstones
associated with specific plots were transported at the same time and stored in the same facility, as
the remains. ERG took precautions to protect such articles from damage during these operations.
Stones that were too heavy to be handled by hand were handled with fiber or leather rope slings
and machinery. All stones were adequately supported and braced during transportation. The
monument was installed on a new concrete foundation at the reinterment plots in Bethel Cemetery.
Once excavation was complete at the Downs Cemetery, all grave shafts and scrapped areas were
backfilled in such a manner as to provide compaction of a density at least equal to the density of



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adjacent earth to prevent settlement or shrinkage. In addition, the entire 1,700-square-foot project
area was reseeded with grass to minimize erosion and to preserve the scenic viewshed.




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              Figure 3. 1. Map of the Downs Cemetery project area and associated features.




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            Figure 3. 2. Illustration of the Downs Cemetery, burials, and associated features.




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                                        4.0     RESULTS



From 1 June through 3 June 2020, ERG conducted a grave relocation project at the Downs
Cemetery on FGGM. This project was initiated by the USACE Baltimore District to investigate at
least two (2) known grave locations and facilitate the disinterment, transportation, and reinterment
of the remains in the Downs Cemetery to the Bethel Cemetery on FGGM. The face of the
monument was facing west with the footstones on the east side of the monument. Orientation of
the burials was therefore east-west. The north grave was marked Burial 1 and the south grave was
marked Burial 2.

The results of these investigations are presented in this chapter and are organized by
Individual/Burial Number. Descriptions for each plot include location in the cemetery, general
dimensions and shape of grave shaft, soil colors and textures, artifact contents, and a discussion of
skeletal contents.

4.1     Staging for Project

The project area was prepared for excavation on 27 May 2020, prior to the start of the project.
Sediment and Erosion Control Plan measures were put in place with a silt fence positioned around
the perimeter of the project area, a mulch access pad deposited over the sidewalk to prevent
destruction from heavy machinery, and the Downs Cemetery chain link fence removed.
Additionally, the headstone, footstones, and unworked sandstones were removed from the Downs
Cemetery and retained for reinterment at Bethel Cemetery, FGGM. The location of these features
was marked with pin flags so points with the total station could be collected.

The marble monument was removed with cloth straps and heavy machinery. While previous
research purports the current headstone was a replacement stone, the weathering and materials
appear consistent with a monument erected in the last quarter of the nineteenth century and could
be the original marker (Gray and Pape 2012; Hornum and Saul 1995). The current condition of the
marble headstone was good, although the headstone had slipped off its base approximately 4
centimeters (cm) downhill (north). The two footstones are virtually identical marble footstones
oriented east-to-west and lay flat on the ground. They are rectangular, measuring 23 cm by 35 cm,
with arches at the west end. The Mary A. Downs footstone was slightly askew and was inscribed
with “M A D” at the arched end. North of Mary’s, the William Downs footstone appears in situ
and was inscribed with “W D” at the arched end.

There were also two sizeable sandstone rocks within the fenced perimeter. The larger of the two
was in the southeast corner of the cemetery and the smaller rock was located next to the inscribed
marble monument. This size sandstone rock was not prevalent in the project area, and the potential
was there to interpret these rocks as additional grave markers. Therefore, these two rocks were


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collected, and their location marked with pin flags for mapping and investigation purposes. Figure
4.1 provides an overview photograph of the Downs Cemetery after staging.




 Figure 4. 1. Overview photograph of Downs Cemetery after staging facing southeast. Note silt fencing,
yellow pin flags (location of chain link fence), and white pin flags (location of monument, footstones, and
                                        unworked sandstone rocks).


4.2     Mary A. Downs (Burial 1)

Burial 1, the northern grave, was excavated on 1 June 2020. Interestingly, the team was led to
believe they were beginning with the burial of William Downs per the footstone location, but an
intact and well-preserved name plate was identified in situ for Mary A. Downs within Burial 1
(Figure 4.2). This identification was further supported by osteological analysis. The soil was not
disturbed within the fenced perimeter and composition was sand with deposits of round river
pebbles and some clay. As previously noted, no burial shaft was able to be identified with the soil
matrix present. Through mechanical excavation, ERG relocated the remnants of a burial container
at approximately 75 cm below surface (bs), after which point the burial was manually excavated.
The soil profile consisted of 10YR 6/6 brownish yellow sand with clay located at the center of the
grave. The matrix within the burial was disturbed and soft while exterior to the burial the matrix
was hard. The harder soil located outside of the burial consisted of 10YR 7/6 yellow sand. The
rectangular burial container measured 232 cm in length (east-west dimension) and 65.5 cm in
width (north-west dimension) at the east (foot) end of the burial and 78 cm in width (north-west
dimension) at the west (head) end of the burial (Figure 4.3). Typically, a rectangular shaped burial
container is known as a casket. The casket appeared to be placed within an outer wood box. The
burial terminated at approximately 131 cmbs. Soil profile below burial consisted of 10YR 6/8


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brownish yellow sand. Final dimensions at base of burial was 222 cm in length with the west end
narrowing to 57 cm.

The artifacts recovered in Burial 1 included: coffin nails/screws (n=50+ due to the two containers),
screw plates, name plate (Mary A. Downs, Died 21 December 1875), glass viewing plate, three
small buttons with fabric adhered recovered in situ along chest (potentially from blouse/bodice),
fragments of clothing recovered under viewing plate, three larger buttons, coffin wood, and coffin
handles (n=6). Photographs of artifacts are presented below in Figures 4.4 - 4.6.

The human remains recovered from Burial 1 included the glenoid fossa of right scapula, right
phalanges over chest, left phalanx over abdomen/pelvis, left first rib, right humoral shaft, head and
neck of right femur and the acetabulum of the right os coxa, remaining portion of right femur (too
poorly preserved for diagnostic analysis as it was flattened due to taphonomic processes), and
partial cranial vault (occipital, left parietal, and partial frontal). The condition of the remains was
poor. Elements were wet and disintegrating when handled. Remains that were able to be recovered
were preserved due to the viewing plate. This is because the glass viewing plate hindered the
consistently wet environment incurred by contact with coffin wood. A consistently wet
environment promotes decomposition as observed in the east end of the burial. Position of the
remains was supine and extended with the right hand over the chest and left hand over
abdomen/pelvis region. The cranium was facing right, resting on what would have been the right
parietal had it preserved. An organic stain (adipocered soil) was present and undisturbed. This
mool stain (organically stained soil from a burial) was excavated and retained for reburial with
remains. Based on the name plate, Mary A. Downs was 72 years of age at death. Sex determination
was supported by osteological analysis such as gracile and small mastoid process and a small
femoral head. Figure 4.7 provides an overview photograph of the human remains recovered.

All biological material, coffin material (wood, hardware), and personal items were collected and
placed into three (3) cardboard boxes for reinterment.




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Figure 4. 2. Photograph of name plate located in Burial 1. Inscribed: Mary A. Downs, Died 21 Dec 1875.




           Figure 4. 3. Photograph of casket outline in Burial 1, Mary A. Downs, facing west.




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 Figure 4. 4. Photograph of Burial 1, Mary A. Downs, glass viewing plate, and name plate in situ, facing
                                                north.




    Figure 4. 5. Overview photograph of artifacts and human remains from Burial 1, Mary A. Downs.




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              Figure 4. 6. Photograph of buttons recovered from Burial 1, Mary A. Downs.




      Figure 4. 7. Overview photograph of human remains recovered from Burial 1, Mary A. Downs.


4.3     William Downs (Burial 2)

Burial 2, the southern grave, was excavated on 2 June 2020. Again, the footstones were misplaced,
and Burial 2 was marked by the footstone for Mary A. Downs. The proper identification was
further supported by osteological analysis. The soil was not disturbed within the fenced perimeter

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and composition was sand with deposits of round river pebbles and some clay. As previously
noted, no burial shaft was able to be identified with the soil matrix present. Through mechanical
excavation, ERG relocated the remnants of a coffin at approximately 108.5 centimeters below
surface (cmbs), after which point the burial was manually excavated. The soil profile consisted of
10YR 6/6 brownish yellow sand with clay located at the center of the grave. The matrix within the
burial was disturbed and soft while exterior to the burial the matrix was hard. The coffin was able
to be pedestaled as the preservation was slightly better than Burial 1 (Figure 4.8). The harder soil
located outside of the burial consisted of 10YR 7/6 yellow sand. The coffin for William Downs
was hexagonal in shape with the foot-end tapered. Tapered burial containers are known as coffins.
The coffin measured 206 cm in length (east-west dimension) and 57 cm in width (north-west
dimension) at the east (foot) end of the burial and 63 cm in width (north-west dimension) at the
west (head) end of the burial. The burial terminated at approximately 137 cmbs. Soil profile below
burial consisted of 10YR 6/8 brownish yellow sand.

The artifacts recovered in Burial 2 included a shoelace eyelet, glass viewing plate (56 cm by 29
cm at east end (near waist) and 13 cm at west end (near head), name plate (fragmentary, poor
condition), three buttons (two from chest area and one from sleeve cuff area on left arm), caplifters,
and screws (sunburst pattern design). The ornate coffin handles were located on the east-west sides
(length) of the coffin (three handles per side) and the utilitarian handles were located on the north-
south sides (head and foot) of the coffin (2 handles per side). Photographs of artifacts are presented
below in Figures 4.9 - 4.12.

The human remains recovered in Burial 2 included most of the cranium less the right side of vault,
maxilla (edentulous), mandible (2 teeth remain, canines, each well-worn with carious lesions;
remainder of mandible antemortem loss), cervical vertebra 1-7, thoracic vertebra 1, greater horn
of the left hyoid, left first rib, fragments of left ribs 2-4, acromion process of right scapula, left
clavicle, manubrium, glenoid fossa and majority of left scapular body, left humerus, and fragment
of left ulna. Condition of the remains was poor. Elements were wet and disintegrating when
handled. Remains that were able to be recovered were preserved due to the viewing plate. The
glass viewing plate impeded the consistently wet environment incurred by contact with coffin
wood. Position of the remains was supine and extended with the left arm extended possibly resting
on abdomen. The cranium was facing left, and all but the right side of cranial vault was recovered.
An organic stain (adipocered soil) was present and undisturbed. This mool stain was excavated
and retained for reburial with remains.

Based on the monument, William Downs was 91 years of age at death. Sex determination was
supported by osteological analysis such as a strong glabella and supraciliary arches, large left
glenoid fossa, wide, square mental region (chin), broad and long mastoid process, and large
humoral head. The left humerus exhibited an antemortem fracture on the proximal shaft with
healed callus. This injury must have led to an infection as evidence of such was observed from the
callus to the head of the humerus. Moreover, degenerative joint disease was present at the shoulder
girdle. The glenoid fossa of the left scapula exhibits arthritic changes anteriorly (the joint surface
leans anteriorly with lipping). This matches the arthritic changes exhibited by the left humerus

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such as flattened head with lipping on the superior and anterior surface. Cervical vertebrae 6 and
7 are fused indicating arthritic changes. Dental condition was poor with the entire maxillary
dentition lost antemortem and the only teeth remaining in the mandible were the two canines. The
two canines exhibited heavy enamel wear with dentin exposure as well as carious lesions along
cementoenamel junction of lingual surface. Additionally, an infection or heavy arthritic wear was
present on the right temporomandibular joint. Photographs of the observed pathology provided in
Figures 4.13 – 4.19.

All biological material, coffin material (wood, hardware), and personal items were collected and
placed into a small rough box and two (2) cardboard boxes for reinterment.




          Figure 4. 8. Photograph of pedestaled coffin in Burial 2, William Downs, facing west.




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      Figure 4. 9.Photograph of Burial 2, William Downs, glass viewing plate in situ, facing west.




                       Figure 4. 10. Coffin screw from Burial 2, William Downs.

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                          Figure 4. 11. Handle from Burial 2, William Downs.




Figure 4. 12. Overview photograph of artifacts from Burial 2, William Downs, including various handles,
                                     nails, buttons, and caplifters.




           Figure 4. 13. Photograph of left humerus. Note callus on proximal third of the shaft.




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          Figure 4. 14. Closeup photograph of callus on proximal third of shaft of left humerus.




 Figure 4. 15. Photograph of proximal end of left humerus displaying flattening of the humoral head and
                                           active infection.




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        Figure 4. 16. Photograph of left scapula displaying arthritic changes of the glenoid fossa.




                      Figure 4. 17. Photograph of fused cervical vertebrae 6 and 7.




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Figure 4. 18. Photograph of Burial 2, William Downs, mandible. Note the antemortem tooth loss of all
dentition except the two canines (circled in red). Carious lesions illustrated with blue arrows. *The left
canine came loose after disinterment.




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        Figure 4. 19. Photograph of the skeletal remains within Burial 2, William Downs, in situ.


4.4     Additional Investigation of Project Area

The remainder of the project area was mechanically investigated for additional burials. No further
interments were located. Two fenceposts were located to the south of Burial 2, William Downs.
The first was located 284 cm from southeast corner of Burial 1. The second was found another 150
cm to the west. Archaeologists on site agreed these remnant posts were likely part of a post and
chain fort-era fence.

Since no additional burials were located, the two sizeable sandstone rocks collected from within
the fenced perimeter were treated as artifacts of the Downs Cemetery and placed at the head of the
vaults within the reinterment burials at Bethel Cemetery, FGGM. The project area was backfilled,
leveled, and compacted to appropriate specifications. Additionally, a 4000 sq ft area was
hydroseeded to return the area to a manicured lawn.

4.5     Reinterment at Bethel Cemetery, FGGM.

On 3 June 2020, the remains and cultural material recovered for William Downs and Mary A.
Downs were transferred to Bethel Cemetery on Fort George G. Meade via the Hilton Funeral Home
transport van. The reinterment plots were located near their family, James T. Downs, E. Catherine
Downs, Louisa Downs, and Arthur Downs. The plots were excavated, and vaults were set in place.

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The containers of the remains and cultural material were set in the vaults for reinterment (Figure
4.19 and 4.20). A small ceremony was provided by the Post Chaplin and once concluded, William
Downs and Mary Downs were lowered into their final resting places.

The reinterment burials were closed and the area was seeded and strawed. The monument and
footstones were erected, now with the proper footstones marking the correct burial (Figure 4.21).




                      Figure 4. 20. Contents of vault for Burial 2, William Downs.




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                          Figure 4. 21. Sealed vaults prepared for reinterment.




  Figure 4. 22. Final resting place of William Downs and Mary A. Downs in Bethel Cemetery, FGGM.


4.6     Discussion of Results

The Downs Cemetery investigation included the burials of William Downs and Mary A. Downs.
These burials dated to the fourth quarter of the nineteenth century. William Downs was born 25
November 1790 and died 30 September 1883. His epitaph read “And now Lord, wh___ I for my

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hope is in Thee”. Mary A. Downs was born 27 July 1803 and died 21 December 1875. Her epitaph
read “I shall be satisfied, when I ____ in His Likeness”. Gray and Pape (2012) researched the
original meaning of these epitaphs and completed William’s epitaph with “what wait” and Mary’s
epitaph with “awake”.

The overall preservation of the burials was poor. The coffins were wood which retains moisture
and not only decomposes over time but retains a wet contact surface for the human remains and
any organic material such as clothing. This wet environment leads to decomposition and loss of
integrity of organic materials which was observed in each burial. Furthermore, the preservation
was slightly better under the glass viewing plate within each burial since a lack of moisture would
have occurred on this surface.

Due to this poor preservation, the limited human remains recovered from each burial could only
tell us so much about the individual interred. For example, very few skeletal elements of Mary A.
Downs were recovered, and those that were recovered were in very poor condition, and therefore,
only her burial position and sex could be determined from visual analysis. Position of the remains
was supine and extended with the right hand over the chest and left hand over abdomen/pelvis
region. The cranium was facing right, resting on what would have been the right parietal had it
preserved. Sex determination was supported by osteological analysis such as gracile and small
mastoid process and a small femoral head.

On the other hand, while only slightly more skeletal elements were recovered for William Downs,
the condition as well as elements present were such that not only burial position and sex analysis
were conducted, but insight into his life could be determined. Position of the remains was supine
and extended with the left arm extended possibly resting on abdomen. The cranium was facing
left, and all but the right side of cranial vault was recovered. Sex determination was supported by
osteological analysis such as a strong glabella and supraciliary arches, large left glenoid fossa,
wide, square mental region (chin), broad and long mastoid process, and large humoral head. The
left humerus exhibited an antemortem fracture on the proximal shaft with healed callus. This injury
must have led to an infection as evidence of such was observed from the callus to the head of the
humerus. Moreover, degenerative joint disease was present at the shoulder girdle. The glenoid
fossa on the left scapula exhibits arthritic changes anteriorly (the joint surface leans anteriorly with
lipping). This matches the arthritic changes exhibited by the left humerus such as flattened head
with lipping on the superior and anterior surface. These pathologies would greatly affect William
in life with symptoms such as chronic pain, limited use of the arm, and illness from infection.

Also present on the skeletal remains of William Downs was the fusion of cervical vertebrae 6 and
7. This indicates arthritic changes over time, which again would have likely been accompanied by
pain. Lastly, William’s dental condition was poor with the entire maxillary dentition lost
antemortem and the only teeth remaining in the mandible were the two canines. The two canines
exhibited heavy enamel wear with dentin exposure as well as carious lesions along cementoenamel
junction of lingual surface. This amount of dental wear and tooth loss would have likely caused
dental pain in life. Dentures were not recovered during excavation, and the alveolus does not
appear pinched as typically seen with habitual denture wear. If William did not utilize dentures,
this dental loss would have been another defining physical trait. Additionally, likely due to a life



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of poor dental condition, an infection or heavy arthritic wear was present on the right
temporomandibular joint.

The coffin ware and materials were consistent with the last quarter of the nineteenth century. Both
coffins and caskets were utilized during this time with the transition from hexagonal coffins to
rectangular casket occurring between 1860 – 1870 for the eastern United States. Coffins and
caskets continued to be utilized through the early 1900s (Davidson 1999). Nails were an essential
part of burial container construction and square nails wire nails were recovered. Wire nails, over
machine cut nails, are likely to be utilized on rectangular burial containers since the introduction
dates are similar, although nail preference might be specific to manufacturer (Davidson 1999).
Coffin handles also support the burials dating to the late nineteenth century. Both Mary A. Downs’
casket and William Downs’ coffin were adorned with double lug short bar handles. Short bar
handles can be found in the patent records as early as 1869 (Pye 2010, 2011). Additionally, the
screws recovered from each burial were slightly different. While Mary A. Downs casket had
escutcheon sets with the appropriate screws, William Downs’ coffin was secured with flat
thumbscrews. This type of screw was first patented in 1874 and did not appear in catalogs until
1875, the year of Mary A. Downs’ death (Davidson 1999). Figure 4.23 presents a catalog cut of
silver-plated thumb screws illustrating the design observed on William Downs’ coffin (No. 14).
Figure 4.24 presents examples of coffins with similar placement of viewing plate, ornate handles,
and thumbscrews. Caplifters accompanied William Downs’ coffin. Caplifters are designed to lift
the panel covering the viewing window on a coffin. While caplifters may be found on burial
containers dating as early as the 1850’s to 1860’s, they are not listed as a separate piece of coffin
hardware until 1875 (Davidson 2004). Lastly, buttons were recovered from both burials. These
Prosser buttons are ceramic and date to 1849 or later in the United States (Sprague 2002).




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 Figure 4. 23. Silver-plated coffin screws and tacks in the Stolts, Russell & Co. special coffin hardware
                   catalog c.1880. William Downs’ coffin included screw number 14.




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Figure 4. 24. Examples of coffins depicting location of thumbscrews (yellow circle), handles (red circle),
                                    and viewing plate (blue circle).




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                                   5.0     CONCLUSIONS



From 1 June through 3 June 2020, ERG conducted a grave relocation project at the Downs
Cemetery on FGGM. This project was initiated by USACE Baltimore to investigate at least two
known grave locations within a 1,700 sq ft project area and to facilitate the disinterment,
transportation, and reinterment of the remains in the Downs Cemetery to the Bethel Cemetery on
FGGM. This project complies with Federal and State regulations regarding the disinterment and
reinterment of Non-Native American human remains. Upon visual inspection in the field, ERG
proceeded to investigate the two known individuals first, followed by the investigation of the
surrounding 1,700 sq ft for unmarked burials.

This investigation resulted in the successful recovery of William and Mary A. Downs. No
unmarked burials were located. Preservation of the burial container, human remains, and any
personal effects was poor. The name plate for Mary A. Downs was well preserved and legible,
therefore her casket was able to be identified. A name plate was recovered in Burial 2, or William
Downs, but the condition was too poor and fragmented to read. Interesting to note, after support
for identification of burials was made by coffin/funerary artifacts and osteological analysis, it was
determined the original footstones were misplaced and marking the incorrect grave. Ultimately,
all biological material, coffin/funerary material (wood, hardware), and personal items were
collected and placed into a rough box and/or cardboard boxes for reinterment in vaults at Bethel
Cemetery FGGM.




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                                                                           APPENDIX A:
                                                        ERG Bioarchaeologists Curriculum Vitae




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                                Jessica R. Spencer M.A.
                                         Curriculum Vitae

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424 S. Front St.                                                               (208)-755-9406
Cobden, IL 62920


Education:
Southern Illinois University- Carbondale, Illinois (2013-present)
PhD Candidate in Biological Anthropology
Dissertation: “Bioarchaeological Analyses of Human Skeletal Populations from Late Roman and
Early Byzantine Cemeteries at Umm el-Jimal, Jordan”

University of Montana- Missoula, Montana (2013)
Master of Arts Degree in Forensic Anthropology
Thesis: “The effects of Western Montana’s unique weather and environment on the rate and
sequence of decomposition using pig (Sus scrofa) cadavers.”
Oregon State University- Corvallis, Oregon (2009)
Bachelor of Science Degree in Anthropology, emphasis on Physical/Archaeology, Summa Cum
Laude

North Idaho College- Coeur d’ Alene, Idaho (2004)
Associate of Science Degree in Anthropology

Major Fields of Interest:
Human osteology, forensic anthropology, bioarchaeology, medical anthropology, historical
archaeology, forensic taphonomy, skeletal health, nutrition, dentition, pathology, human rights,
mass fatalities and natural disasters


Cemetery Specific Excavations:
May 2020        Fountain Bluff, Illinois Archaeological Site: Phase 1 and site monitoring for
                prehistoric cemeteries with the Shawnee National Forest
Sept 2019       Jackson County, IL Poor Farm Project: site location and excavation of an
                individual from the Poor Farm Cemetery
Jan 2017        St. Henry’s Catholic Cemetery Project: site location and Phase 2 burial
                excavations with the Center for Archaeological Investigations and the Illinois
                National Guard Armory in East St. Louis, Illinois (on-going project to relocate the
                rest of the cemetery)




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Publications in Peer Reviewed Journals:
2017            Roberts LG, Spencer JR. and Dabbs GR. The effect of body mass on outdoor
                adult human decomposition. Journal of Forensic Sciences. Early View.
2016            Roberts LG, Dabbs GR, and Spencer JR. An update on the hazards and risks of
                forensic anthropology, Part I: Human remains. Journal of Forensic Science. Vol
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                forensic anthropology, Part II: Field and laboratory considerations. Journal of
                Forensic Sciences Vol 61(S1) p. S14-S21.


Book Chapters:
In Review       Dabbs GR, Roberts LG, Spencer JR. Human decomposition in the outdoor
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Presentations at Professional meetings:

2020            Best KC, Spencer JR, Cabrera KN, Schrenk A, and Watts S. 2020. An
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                Anthropologists, Los Angeles, CA. April 15-18, 2020. *Posted online due to
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2017            Farace AP, Spencer JR, Merrill H, and Street D. Ft. Kaskaskia Archeology and
                Artifacts. Paper Presented at the Annual Meeting of the Illinois Archaeological
                Survey

2017            Roberts LG, Spencer JR, Best KC, and Dabbs GR. A Preliminary Investigation
                into the Effects of Artificial Freezing on Human Decomposition. . Center for
                Undergraduate Research and Creative Activities Graduate Research Forum.
                Poster Award Runner Up.

2017            Roberts LG, Dabbs GR, Spencer JR, and Best KC. A Preliminary Investigation
                into the Effects of Previous Freezing on Human Decomposition. Poster
                Presentation at the American Academy of Forensic Sciences Conference.




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2016            Roberts LG, Spencer JR. and Dabbs GR. Effect of Body Size on the Rate of
                Outdoor Human Soft Tissue Decomposition. Center for Undergraduate Research
                and Creative Activities Graduate Research Forum. Poster Award Winner.

2016            Roberts LG, Spencer JR. Effect of Body Size on the Rate of Outdoor Human Soft
                Tissue Decomposition. Poster presentation at the American Academy of Forensic
                Sciences Conference.

2016            Panakhyo M, Spencer JR, Roberts LG, and Dabbs GR. Sex and site based
                differences in subsistence procurement and daily activities amongst the Ipiutak
                and Tigara of Point Hope, Alaska. American Association of Physical
                Anthropologists Conference.

2015            Roberts LG, Dabbs GR, Spencer JR. Effects of body size on outdoor human
                decomposition in southern Illinois. Presented at Bioarchaeology and Forensic
                Anthropology Association meeting Chicago, IL. October 18.

2014            Spencer JR, Huey TN, and Best KC , Decomposition in western Montana:
                defining postmortem changes in the fall, winter, and spring. Poster presentation at
                the American Academy of Forensic Sciences Conference.

2014            Spencer JR, Roberts LG, Dabbs GR. An Update on the Hazards and Risks of
                Forensic Anthropology, Part II: Field and Laboratory Considerations. Poster
                presentation at the Midwest Bioarchaeology and Forensic Anthropology
                Association Conference.

2014            Roberts LG, Spencer JR, Dabbs GR. An Update on the Hazards and Risks of
                Forensic Anthropology, Part I: Human Remains. Poster presentation at the
                Midwest Bioarchaeology and Forensic Anthropology Association Conference.

2013            Spencer JR. Defining postmortem changes in western Montana: effects of cold
                climate on the rate and sequence of decomposition using pigs (Sus scrofa). Paper
                presentation at the Midwest Bioarchaeology and Forensic Anthropology
                Association Conference.

2013            Spencer JR. Defining postmortem changes in west central Montana. Poster
                presentation at the American Association of Physical Anthropologists
                Conference.

2012            Spencer JR and Best KC. The Effects of Western Montana’s Unique Weather on
                the Rate and Sequence of Decomposition Using Pig (Sus scrofa) Cadavers. Poster
                Presentation at the Northwest Anthropology Conference.




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Research Experience and Professional Development:
2019-present Native American Grave Protection and Repatriation Act Project, SIU Center for
             Archaeological Investigation Curation Facility
2018-2019       Black Mesa Archaeological Repatriation Project, SIU Center for Archaeological
                Investigations Curation Facility
2017-2019       Human remains search and collections curation for the Shawnee National Forest
                Archaeological Collection Rehabilitation Project and Black Mesa Archaeological
                Project, Center for Archaeological Investigations Curation Facility
2018            Forensic recovery for the Jackson County, IL Sherriff’s office (October 28).
2017            Point of Contact for the Complex for Forensic Anthropology Research while
                Director is out of the country (Summer and Fall)
2017            Point of Contact and lecturer for cadaver dog training seminar and research
                project collaboration with SIU’s Department of Animal Science (April 25-26)

2017            Phase II excavation of a historic cemetery, East St. Louis, MO with the Center for
                Archaeological Investigations, SIU Carbondale, IL. (January 9-12)
2015-2017        Laboratory Manager and Research ssistant for the SIU Forensic Anthropology
Lab
2015            Forensic Analysis for the Rock Island, IL Sherriff’s Department
2015            Tell el Amarna, Egypt Bioarchaeological Field School
2015            Forensic search and recovery with for the Effingham County Sherriff’s
                Department (October) (monitoring and phase II excavation)
2014            Research Assistant for the SIU Forensic Anthropology Laboratory, Southern
                Illinois  University
2014            Forensic search, recovery, and analysis with the Jackson County, IL Sheriff’s
                Office (Phase II excavation)
2013-2017       Data Collection, Research, and Maintenance at the Complex for Forensic
                Anthropology Research (CFAR), Southern Illinois University
2013            Forensic recovery and analyses with the Montana State Crime Lab (Phase II
excavation)
2012            Internship at the Central Identification Laboratory for the Joint Pacific
                Accounting Command- ASCLD LAB certified
2012            Skelton, RR, Spencer, JR, and Best, KC. Faunal Case # 2012-Anth-4. For the
                Montana State Crime Lab.
2012            Kemp, WL, Spencer, JR, Best, KC, and Davidson, E. Faunal Case # 2012-Anth-
                11. For the Montana State Crime Lab
2008- 2010      Internship at the Benton County (OR) Historical Society and Museum
2009            Historical Archaeology Field School, Fort Yamhill, Oregon
2009            Historical Archaeology Field School, Champeog State Park, Oregon
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2009            Paleocoastal Survey at Oregon State University
2009            Heppner Oregon Bottle Collection- Description and Dating Analysis
2008            Archaeological Tunnel/Warehouse Inventory Project
2008            NAGPRA Inventory, Analysis, and Repatriation

Teaching Experience:
Summer 2020 Virtual Archaeology Field Methods Course Design, Center for Archaeological
            Investigations Southern Illinois University
Spring 2019    Instructor for Undergraduate Individual Study teaching Osteology
Summer 2018 Field Director for the Archaeology Field School, Southern Illinois University
Summer 2017 Graduate Assistant for the Archaeology Field School, Southern Illinois University
Spring 2017     Instructor of Record for Introduction to Forensic Anthropology, Southern Illinois
                University
Spring 2016     Teaching Assistant for Introduction to Forensic Anthropology, Southern Illinois
                University
Fall 2016       Teaching Assistant for Osteology, Southern Illinois University
Spring 2015     Teaching Assistant for Introduction to Forensic Anthropology, Southern Illinois
                University
Spring 2014     Teaching Assistant for America’s Diverse Cultures, Southern Illinois University
Fall 2013       Teaching Assistant for Human Experience: Introduction to Anthropology, Southern
                Illinois University
Fall 2012       Forensic Osteology Lab Assistant, University of Montana
Fall 2012       Human Osteology Lab Assistant, University of Montana
Spring 2012     Teaching Assistant for Native Peoples of Montana, University of Montana
Spring 2012     Teaching Assistant for Dental Anthropology, University of Montana
Fall 2011       Human Osteology Lab Assistant, University of Montana
Fall 2010       Teaching Assistant for Anthropology and the Human Experience, University of
Montana
Fall 2010       Teaching Assistant for Intro to Physical Anthropology, University of Montana
Fall 2009       Human Osteology Lab Assistant, Oregon State University




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Academic Volunteer Work/Outreach:

2020              Guest lecture for Trinity Christian School, Carbondale, IL. Lecture,
                  demonstration, and activities to explore forensic anthropology and archaeology.
2019/2020         Volunteer presenter for Southern Illinois University Day: What Bones can tell us?
                  (Spring 2019 and Spring 2020 semester)
2017              Judge for the Undergraduate Creative Activity and Research Forum, Southern
                  Illinois University (Spring semester)
2016/2017         Guest lecture Johnston City High School: Introduction to Forensic Anthropology
                  (Spring 2016, Fall 2016, and Spring 2017 semesters)
2016/2017         Guest lecture for Murphysboro High School Introduction to Forensic
                  Anthropology (Spring 2016, Fall 2016, and Spring 2017 semesters)
2014-2015         President for the Anthropology Graduate Student Association, SIU
2013              Girl Scouts of America Crime Scene Investigation Camp (STEAM), Southern
                  Illinois University
2013              Missoula Alternative High School Forensic Science Project, University of
                  Montana
2012              Guest Lecture on Skeletal Biology and Forensic Anthropology for a Missoula,
                  Montana High School Advanced Biology Class.
2012-2013         Historian for the Montana Anthropology Student Association
2011-2012         Treasurer for the Montana Anthropology Student Association
2009              Organized and Hosted the 62nd Annual Northwest Anthropological Conference -
                  Oregon State University Anthropology Department
Advisors

                  PhD Advisor: Mark J Wagner, Southern Illinois University, Carbondale, IL
                  MA Advisor: Ashley H. McKeown, University of Montana, Missoula, MT
                  BS Advisor: Melissa Cheyney, Oregon State University, Corvallis, OR

Special Skills:
Skeletal analysis, dental analysis, human osteology, vertebrate osteology, FORDISC, Past, SPSS,
SAS, R, PastPerfect Museum Software, Microsoft Access, ParScore Scantron, and ASCLD/LAB
and JPAC-CIL SOP trained and certified, archaeological excavation (phases I, II, III, and
monitoring).




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Awards, Honors and Memberships:

Poster Runner Up: SIU Center for Undergraduate Research and Creative Activities Graduate
 Research Forum (2017)
Poster Winner :SIU Center for Undergraduate Research and Creative Activities Graduate
Research
  Forum (2016)
Midwest Bioarchaeology and Forensic Anthropology Association- Student Member (2013-
present)
Southern Illinois University Anthropology Graduate Student Association (2013-present)
American Academy of Forensic Sciences Student member (2011-present)
American Association of Physical Anthropologists –Student Member (2011-present)
Lambda Alpha Honor Society (Vice President 2013) (2012-present)
Golden Key International Honour Society (2012-present)
Member of America Association of Physical Anthropologists (2012-present)
Member of Plains Anthropological Society (2012-present)
Montana Anthropology Student Association (2010-2013)
MaryAnn Towey/Horner Museum Scholarship, $750 yearly (Sept 2008-Dec 2009)
Dean’s List Oregon State University (2007-2009)
Summa Cum Laude Graduate Status Oregon State University (Dec 2009)




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                                   Kaleigh Christine Best
                                      CURRICULUM VITAE

Southern Illinois University-Carbondale                                     kaleigh.best@siu.edu
2800 W. Murphysboro Rd.                                                      (+01) 406-781-9522
Carbondale, IL 62901

EDUCATION

2021 expected Ph.D. Biological Anthropology (current doctoral candidate, ABD) Southern
              Illinois University, Carbondale, IL
              Dissertation: “An Intra-Individual Geometric Morphometric Investigation into
              Sexual Trait Expression”

2015            M.S. Forensic and Biological Anthropology
                Mercyhurst University, Erie, PA
                Thesis: “An Investigation into the Relationship between Human Cranial and
                Pelvic Sexual Dimorphism”

2013            B.A. Anthropology (with a certificate in Forensic Studies) The University of
                Montana, Missoula, MT
                Honors Thesis: “Morphological Change in the Arikara Face Shape During the
                Prehistoric, Protohistoric, and Historic Periods”

2009            The University of Great Falls College of Technology (dual credit courses in high
                school)

Research Interests
Human variation, sexual dimorphism, forensic anthropology, bioarchaeology, geometric
morphometrics, environmental stress, and spatial analysis

Cemetery Specific Excavations
May 2020     Fountain Bluff, IL
             Assist National Forest Service in Phase 1 survey and site monitoring of
             prehistoric cemeteries

Sept 2019       Jackson County, IL
                Locating and excavation of an individual from the Jackson County Poor Farm

June 2015       Geneva, NY
                Recovery of interred individuals at a former 18th century cemetery.

Professional Experience
Fall 2018     Southern Illinois University
              Part of forensic anthropology team, Jackson County, IL


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Summer 2017, TG&G Wildlife Consulting
2018        Hired consultant in which assisted with necropsies and maceration.

Summer 2017 Southern Illinois University
            Part of forensic anthropology team, Jackson County, IL

Oct 12, 2015 Southern Illinois University.
             Lead forensic anthropologist, Effingham County, IL

2013-2015       Mercyhurst University.
                Involved in 23 total cases- 7 forensic archaeological recoveries, one case as
                assistant case manager, and three cases as case manager.

Spring 2013     Internship at the Central Identification Laboratory for the Joint Pacific Accounting
                Command- ASCLD LAB certified
                Responsibilities entailed organizing, database entry, research, maceration,
                assisting in biological profile and trauma analysis, photodocumentation, gopher
                (acquired documents in personnel to aid investigators) in ASCLD LAB inspection.

2012            Skelton, R. R., Spencer, J.R, and Best, K.C. Faunal Case # 2012-Anth-4. For the
                Montana State Crime Lab.

2012            Kemp, W.L., Spencer, J.R., Best, K.C. and Davidson, E. Faunal Case # 2012-
                Anth-11.
                For the Montana State Crime Lab.

2012            McKeown, A.H., Best, K.C, Burgess, M. and Hamilton, P. Cahal Pech Plaza H,
                H1 Remains. For Dr. Jaime Awe, Belize Valley Archeological Reconnaissance
                Project, Director.
                Osteoarchaeological analysis of Mayan elite burial: biological profile and
                detailed inventory/photodocumentation.

Academic Experience
Summer 2020 Virtual Archaeology Field Methods Course Design, Center for Archaeological
            Investigations Southern Illinois University

Spring 2020     Instructor of Record, Southern Illinois University
                Introduction to Anthropology: The Human Experience

Fall 2019       Anthropology Departmental Student Administrative Assistant

Fall 2018       Instructor of Record, Southern Illinois University
                Introduction to Anthropology: The Human Experience- online class

Spring 2018     College of Liberal Arts Council Member, Southern Illinois University



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2016-2019       Teaching Assistant, Southern Illinois University
                Human Experience (online and in-class), Introduction to Forensic Anthropology,
                Introduction to Biological Anthropology (lab instructor)

June 2015       Hired lecturer/assistant Mercyhurst University Short Courses Forensic
                Archaeology, Forensic Osteology, Fatal Fire
                Lectured on Geospatial techniques, R8 surveyor, Total Station; mapping, bone
                identification and fatal fire recovery.

April 2015      Lecturer, Pennsylvania Coroners Course
                Lectured on Geospatial techniques, R8 surveyor, Total Station; mapping.

 2013-2015 Graduate Assistantship, Department of Applied Forensic Sciences Mercyhurst
           University Responsible for assisting in cases, help with managing collections,
           prepping classes, editing research, assisting with classes and other department
           needs.

 2013- 2015 Teaching Assistant, Mercyhurst University, Department of Applied Forensic
            Sciences.
            Manage the course website, lecture, create and implement labs, and grade papers.

 2014          Partial Fellowship- Department of Applied Forensic Sciences, Mercyhurst
               University (Summer).
               Helped with short courses, cases, and other tasks appointed by the department.

June 2014       Assisted with Mercyhurst University Department of Applied Forensic Sciences
                Short Courses: Forensic Archaeology, Laboratory Methods, and Mass Disasters
                Helped participants in post-bomb blast recovery and photodocumentation and
                collection procedures during week-long short courses.

July 2014       Assisted with Mercyhurst University Department of Applied Forensic Sciences
                High School Forensic Sciences Camp
                Assisted with instruction in osteology, biological profile, and mapping techniques.

2013-2014       Mercyhurst University Department of Applied Forensic Sciences Work Study
                Manager Responsible for assigning undergraduate work tasks, supervising their
                duties, training in lab duties, holding meetings, scheduling tours, and turning in
                their time sheets.

2011-2012       Preceptor for the University of Montana, Department of Anthropology.
                Responsibilities included guest lecturing, holding lab hours, helping to manage
                the course website and assisting in setting up exams.




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Peer-Reviewed Publications
Best, K.C. (2019). Book Review: Identified Skeletal Collections: The Testing Ground of
Anthropology? Charlotte Yvette Henderson and Francisca Alves Cardoso, editors.
Midcontinental J of Archaeol. 44.

Best, K.C., Garvin, H., and Cabo, L. (2017). An Investigation into the Relationship Between
Human Cranial and Pelvic Sexual Dimorphism. J Forensic Sci. doi:10.1111/1556-4029.13669

Conference Presentations
Best KC, Spencer J, Cabrera KN, Schrenk A, and Watts S. 2020. An osteobiographical model of
care: Case study of Carrier Mills, IL Individual 194. Poster presentation at the 89th Meeting of
the American Association of Physical Anthropologists, Los Angeles, CA. April 15-18, 2020.
       *Posted online due to COVID-19 Pandemic.

Cabrera KN, Best KC, and Spencer J. 2019. Osteobiography of Care: Preliminary Case Study of
Carrier Mills (11SA87) Individual 194. Podium presentation at the 26th Meeting of the Midwest
Bioarcharchaeology and Forensic Anthropology Association, Allendale, MI. October 18-19,
2019.

Roberts L, Spencer J, Best K, and Dabbs G. 2017. A preliminary investigation into the effects of
artificial on human decomposition. Poster presentation at the 2017 Graduate Creative Activity
and Research Forum. Carbondale, IL. April 4, 2017.

Roberts L, Dabbs G, Spencer J, and Best K. 2017. A preliminary investigation into the effects of
previous freezing on human decomposition. Poster presentation at the 69th Meeting of the
American Academy of Forensic Sciences, New Orleans, LA. February 14-17 2017.

Best KC, Cabo-Perez L, and Garvin HM. 2016. A geometric morphometric comparison of
within- individual levels of pelvic and cranial sexual dimorphism. Invited Poster symposium
presentation at the 85th Meeting of the American Association of Physical Anthropologists,
Atlanta, GA. April 13-16, 2016.

Best KC, Cabo-Perez L, and Garvin HM. 2016. A Geometric Morphometric Comparison of
Pelvic and Cranial Sexual Dimorphism. Poster presentation at the 68th Meeting of the American
Academy of Forensic Sciences, Las Vegas, NV. February 22-27, 2016.

Best KC, Cabo-Perez L, and Garvin HM. 2015. An Investigation into the Relationship between
Human Cranial and Pelvic Sexual Dimorphism. Podium presentation at the 22nd Meeting of the
Midwest Bioarcharchaeology and Forensic Anthropology Association, Chicago, IL. October 24,
2015.

Best, K.C., Ousley, S.D. and C. Wienker. 2015. Classification of a sample of Chinese males
from Cuba Using Fordisc 3.1. Submitted for poster presentation at the 67th Meeting of the
American Academy of Forensic Sciences, Orlando, FL. February 16-21.

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Best, K.C., Ousley, S.D. and C. Wienker. 2014. Classification of a sample of Chinese males
from Cuba Using Fordisc 3.1. Podium Presentation at the 21st Meeting of the Midwest
Bioarchaeology and Forensic Anthropology Association, Grand Valley, MI. Oct 18, 2014.

Spencer, J.R., Huey, T.N, and Best, K.C. 2014. Decomposition in Western Montana: Defining
Postmortem Changes in the Fall, Winter, and Spring. Presented at the 66th Annual American
Academy of Forensic Sciences Meeting in Seattle, WA.

Best, KC. 2013. Morphological Change in Arikara Face Shape During the Prehistoric,
Protohistoric, and Historic Periods. Podium Presentation at the 2013 University of Montana
Conference for Undergraduate Research (presented April 12, 2013).

Spencer, J. R. and Best, K.C. 2012. Establishing Baseline Decomposition Rates of Sus Scrofa for
the Missoula Valley. Presented at the 2012 meeting of the Northwest Anthropological
Conference (presented March 15-17 2012).

Laboratory and Field Experience
2015- 2017 Researcher at the Center for Forensic Anthropology Research, Southern Illinois
              University, Carbondale.
              Part of the team that provides daily data collection on human donors and
              maceration of subjects into the SIU skeletal collection.

2014- 2015      Deputy Quality Assurance Director Mercyhurst Forensic Anthropology
                Laboratory. Dr. Heather Garvin Supervisor.
                Organizing and writing lab procedures, ensuring procedures are followed,
                equipment is calibrated and functioning properly, training individuals, and
                ensuring paperwork is up to date for all individuals.

2014- 2015      Forensic Anthropologist Level 1-2 Mercyhurst University Forensic Anthropology
                Laboratory and Forensic Scene Recovery Team Member. Dr. Dennis Dirkmaat
                Supervisor.
                Employ forensic archaeological recovery techniques at crime scenes (mapping,
                electronic mapping, excavation, photography, osteological identification, and
                collection procedures). Conduct laboratory analyses involving biological profile
                estimation and trauma analysis.

2013-2015       Vietzen Osteoarchaeological Collection- work with comingled fragmentary
                individuals, juvenile and adult.
                Auditing and organizing a comingled, fragmentary, osteoarchaeological
                collection consisting of juveniles and adults. Reconstructing and analyzing
                approximately 40 possible individuals.

2013- 2014      Forensic Anthropologist Level 1-1 Mercyhurst University Forensic Anthropology
                Laboratory and Forensic Scene Recovery Team Member. Dr. Dennis Dirkmaat
                Supervisor.

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                Assist in employing forensic archaeological recovery techniques at crime scenes
                such as mapping, electronic mapping, excavation, photography, osteological
                identification, and collection procedures. Conduct laboratory analyses involving
                biological profile estimation and trauma analysis.

Jan 2012        Belize Field School with Dr. John Douglas (UM), Linda Brown (UM) and Dr.
                Jaime Awe (BVAR). Plaza H of Cahal Pech in San Ignacio, Belize.
                Archaeological excavation of a Mayan Terminal classic period plaza and
                introduction in archaeological laboratory methods. Includes use of a total station.

Fall 2012       Analysis of Skeletal Case #121108 of known individual for submission to the
                Forensic Data Bank. Dr. William Kemp. Montana State Crime Lab.
                Collected measurements for submission to the Forensic Data Bank.

Academic Volunteer Work/Outreach
Jan 9, 2020 Trinity Christian School, 1218 W Freeman St, Carbondale, IL 62901
            Assisted with lecture/hands-on demonstration. What can bones tell us? Presented
            to 7/8th classes.

Jan 2020        Assisted with curriculum development of Introduction of Anthropology class

Sept 18, 2019 Volunteer Presenter for Southern Illinois University Day.
              What Can Bones Tell Us?

June 2019       Volunteer Excavator for the Center of Archaeological Investigations.

April 26, 2019 Volunteer Presenter for Southern Illinois University Day.
               What Can Bones Tell Us?

Spring 2019     Assisted with curriculum development of Introduction to Biological
                Anthropology class

Fall 2018       Biological Anthropology Laboratory Organizer
                Re-organized the Biological Anthropology Laboratory; required knowledge of
                primate, human, and hominin skeletal remains.

June 25-29, 2017 Volunteer Excavator for the Center for Archaeological Investigations.

April 3, 2017 Judge for 2017 Undergraduate Creative Activity and Research Forum (UCARF)

March 3, 2017 Murphysboro High School, 50 Blackwood Dr., Murphysboro, IL 62966
              Assisted with teaching a lecture to what bones can tell us as forensic
              anthropologists to High School Junior Health.

April 6, 2016 Johnston City High School, 1500 Jefferson Ave, Johnston City, IL 62951



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                Assisted with teaching a lecture to what bones can tell us as forensic
                anthropologists to High School Medical Profession class sophomore- seniors.

April 4, 2016 Judge for 2016 Undergraduate Creative Activity and Research Forum (UCARF)

April 4, 2016 Murphysboro High School, 50 Blackwood Dr., Murphysboro, IL 62966
              Assisted with teaching a lecture to what bones can tell us as forensic
              anthropologists toHigh School Junior Health.

June-July 2015 Teaching Assistant/ Prosector for Gross Human Anatomy, Dr. David Hyland.
Department of Biology, Mercyhurst University
              Assisted with prosecting four cadavers, instructing physician assistant students in
              anatomy, creating and grading exams.

Nov. 14, 2014 Mercyhurst Preparatory School, 538 Grandview Blvd, Erie, PA 16504
              Assisted in lecturing to High School Senior Anatomy class on the elements of
              forensic anthropology and elements of establishing a biological profile.

Sept. 12, 2014 Gifted Students Consortium (4-6 grades), Cranberry Elementary School, 3
Education Drive, Seneca, PA 16435
               Lecture to Cranberry area gifted school students on the elements of forensic
               anthropology/archaeology and on human vs non-human skeletal identification.

Summer 2014 Camp Cadet: Indiana County, PA (August 7, 2014) and Camp Cadet: Cambria
County, PA (August 1, 2014) - Special Agent Michael Hochrein, FBI (High School Forensic
Science Camp)
             Assisted in the Federal Bureau of Investigation’s high school forensic camp, on
             forensic archaeological scene recovery, including mapping, use of the Total
             Station, fingerprint collection, blood detection, and trace evidence collection.

Fall 2012       Guest Lecturer Big Sky High School, Anatomy Class, two sections. University of
                Montana
                Assisted in lecturing on pathology in bones to two sections of high school
                students.

Autumn 2010 Volunteer at SpectrUM Discovery Area.
            This organization teaches science to children through a series of interactive
            activities.

Honors and Awards
2020-2021    Dissertation Research Assistantship Award, Southern Illinois University
March 28, 2020 Invited presenter at Southern Illinois University 150th Anniversary Celebration
Gala.
*Canceled due to COVID-19 Pandemic



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 2019-2021 Vice President of the Southern Illinois University Scuba Diving Club
 2017      1st Runner-up in poster presentations, Business and Sciences, 2017 Graduate
           Creative
           Activity and Research Forum
 2015-2016 Doctoral Fellow, Southern Illinois University
 2013      University Scholar Distinction, University of Montana
 2013      Highest Honors, University of Montana
 2012-2013 President Lambda Alpha Honor Society, University of Montana
 2012-2013 Co-President of Golden Key International Honour Society, University of
           Montana
 2012-2013 Vice President Montana Anthropological Student Association, University of
           Montana
 2012-2013 Mortarboard Alumni Committee Chair, University of Montana
 2011-2012 Treasurer Golden Key International Honour Society, University of Montana
 2009-2013 College of Arts and Science’s Dean List, University of Montana
 2009-2013 Recipient of the Fox Fund Scholarship, University of Montana
 2009-2013 Recipient of the Governor’s Post-Secondary Scholarship, University of Montana


Professional Memberships
Scuba Divers International (2019- present)
Society for American Archaeology- Student Member (2019-present) Sigma Xi (2018- present)
Midwest Bioarchaeology and Forensic Anthropology Association- Student Member (2014-
present) American Academy of Forensic Scientists- Physical Anthropology- Student Member
(2013-present) American Association of Physical Anthropologists –Student Member (2012-
present)
Golden Key International Honour Society-Student Member (2010-present) Alpha Lambda Delta
Honor Society-Student Member (2010-present) Anthropology Graduate Student Association
(2015-present)
Mortarboard Honor Society-Student Member (2012- 2013) Phi Kappa Phi Honor Society-
Student Member (2012-2013) Davidson Honor College-Student Member (2011-2013)
Montana Anthropological Student Association- Student Member (2011-2013)




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                                                               APPENDIX B:
                                                               Burial Data Forms




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                                   BURIAL 1 (Mary A. Downs)




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                                    BURIAL 2 (William Downs)




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                                                               APPENDIX C:
                                                                  Artifact Catalog




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                                          Artifact Catalog
                               Burial 1 (Mary A. Downs)                 Burial 2 (William Downs)
 Nails/screws/plates     50+                                       75+
 Glass Viewing Plate     1                                         1
 Name Plate              1                                         1
 Buttons                 6                                         3
 Clothing Fabric         various                                   0
 Wood                    various                                   various
 Handles                 6                                         10
 Shoelace eyelet         0                                         1
 Caplifters              0                                         various
 Human Remains           -   glenoid fossa of right scapula        -   cranium (less the right side of
                         -   right phalanges                           vault)
                         -   left phalanx                          -   maxilla (edentulous)
                         -   left first rib                        -   mandible (2 teeth remain,
                         -   right humoral shaft                       canines, remainder of
                         -   head and neck of right femur              mandible antemortem loss)
                         -   acetabulum of the right os coxa       -   cervical vertebra 1-7
                         -   remaining portion of right            -   thoracic vertebra 1
                             femur                                 -   greater horn of the left hyoid
                         -   partial cranial vault (occipital,     -   left first rib
                             left parietal, and partial frontal)   -   fragments of left ribs 2-4
                                                                   -   acromion process of right
                                                                       scapula
                                                                   -   left clavicle
                                                                   -   manubrium
                                                                   -   glenoid fossa and majority of
                                                                       left scapular body
                                                                   -   left humerus
                                                                   -   fragment of left ulna




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